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                            IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

 IRENE RODRIGUEZ, individually and                §
 as parent and legal guardian of A.R.,            §
 and MARIA ANTONIA SANTOS as                      §
 representative of the estate of B.R.,            §
                                                  §
         Plaintiffs,                              §
                                                  §
 v.                                               §   CIVIL ACTION NO. 3:20-cv-00045-D
                                                  §
 SOUTHERN HEALTH PARTNERS, INC.                   §
 LINDA HULLETT, and                               §
 DR. GRADY SHAW,                                  §
                                                  §
        Defendants.                               §

______________________________________________________________________________

APPENDIX IN SUPPORT OF PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION
        FOR PARTIAL SUMMARY JUDGMENT AND MOTION TO STRIKE
______________________________________________________________________________

        Plaintiffs submit this Appendix in support of their Response to Defendants’ Motion for

Partial Summary Judgment and Motion to Strike:

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                                             Respectfully submitted,

                                             /s/ Don Tittle
                                             Don Tittle
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                                             8350 N Central Expy., Suite M1085
                                             Dallas, Texas 75206
                                             (214) 522-8400 – Telephone
                                             (214) 389-1002 – Facsimile

                                             COUNSEL FOR PLAINTIFF



                                CERTIFICATE OF SERVICE

I hereby certify that on the 19th day of June, 2023, a true and correct copy of foregoing document
was forwarded to all counsel of record pursuant to the Federal Rules of Civil Procedure.


                                                    /s/ Don Tittle
                                                    Don Tittle




                                                                                                2
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                                                                PLS.' APPX. 001
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                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION




               IRENE RODRIGUEZ, individually and
               as parent and legal guardian of A.R.,
               and Maria Antonia Santos as
               representative of the estate of B.R.,

                          Plaintiffs,

               vs.

               SOUTHERN HEALTH PARTNERS,      Case No. 3:20-cv-00045-D
               INC., LINDA HULLETT, and
               DR. GRADY SHAW,

                         Defendants.
               _____________________________________________________




                                                            DEPOSITION OF

                                                         GRADY SHAW, M.D.



                                                              TAKEN ON
                                            THURSDAY, DECEMBER 9, 2021
                                                             2:37 P.M.



                                                   HOLIDAY INN AND SUITES
                                                         620 BRYANT'S WAY
                                                   CORSICANA, TEXAS 75109
                                                                 PLS.' APPX. 010
             Grady Shaw MD   December 9, 2021   NDT Assgn # 54478              Page 33
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1 preceding Wednesday when you get there the next Wednesday?

2       A.      Not necessarily unless they had some new complaint.

3       Q.    Well, how would it be brought to your attention that

4 you need -- if they did have a new complaint that -- that --

5 that you need to review the chart?

6       A.      The nurses would tell me.

7       Q.    So when you say in your -- in your order there around

8 there or on the progress notes, "Will get in to see OB ASAP &

9 monitor here," what are you expecting to happen to satisfy the

10 monitor here part?

11      A.      I expect nurses to continue to monitor him and bring

12 any problems to my attention.

13      Q.    Would you consider two separate complaints by a woman

14 who's pregnant to be something that should be brought to your

15 attention?

16            MS. DRAKE:     Objection, form and foundation.

17      A.      Yes.

18      Q.    When you say your plan, "Will get to OB ASAP &

19 monitor here," those are two different things, right?

20      A.      Yes.

21      Q.    So focusing on the latter, "monitor here," to -- to

22 satisfy in that your mind you mean that the nurses are to

23 continue to monitor and to bring things -- something to your

24 attention if there's some new information, right?

25      A.      Yes.



                                                                     PLS.' APPX. 011
             Grady Shaw MD   December 9, 2021   NDT Assgn # 54478              Page 39
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1 you have independent of what Dr. Cook said or are you saying

2 that your translation of what Dr. Cook says would not include

3 what's written there?

4             MS. DRAKE:     Form and foundation.

5       A.    It just doesn't seem to me to be the type of

6 complaint that would require her to be sent to the hospital.

7       Q.    Would you agree that it's the type of information

8 that should have been brought to you pursuant to your plan to

9 monitor here?

10            MS. DRAKE:     Objection, form and foundation.

11      A.    Yes.

12      Q.    Do you know if on your -- assuming that January 3rd

13 was the next Wednesday after your 12/27 visit, and I'll

14 represent to you that's what the calendar says anyway, do you

15 know if either of the events memorialized in the records, the

16 1/2/18 or the 12/29, were brought to your attention?

17      A.    No, they were not.

18      Q.    If -- if both of those two events had been brought to

19 your attention as two separate events, would you have taken any

20 action?

21            MS. DRAKE:     Form and foundation.

22 BY MR. TITTLE:

23      Q.    Let me ask another way.

24            If either of those two events had been brought to

25 your attention based on your knowledge from 12/27 and that it's



                                                                     PLS.' APPX. 012
             Grady Shaw MD   December 9, 2021   NDT Assgn # 54478                Page 40
Case 3:20-cv-00045-D Document 106 Filed 06/19/23        Page 15 of 121 PageID 1483
1 a twin pregnancy, do you have a medical opinion as to whether

2 it would have warranted further action?

3             MS. DRAKE:     Form and foundation.

4       A.    Yes.    I would have tried to get her in to see OB --

5 OB sooner.

6       Q.    Sooner than what?

7       A.    Than the 1/9/18.

8       Q.    Dr. Shaw, in the -- in truth, it really screams out

9 that if -- if the information conveyed in those two visits had

10 been known by you, your medical opinion would have been to get

11 her to a obstetric expert immediately?

12      A.     Yes.

13            MS. DRAKE:     Form and foundation.

14 BY MR. TITTLE:

15      Q.    And even if that meant taking her by ambulance, that

16 would have not been excessive in light of what's conveyed in

17 those two notes?

18            MS. DRAKE:     Form and foundation.

19      A.     I think an ambulance would not have been required.            I

20 think just car transport would have been okay.

21      Q.    Okay.   But -- but in that instance you would say

22 immediately, right?

23            MS. DRAKE:     Form and foundation.

24      A.     Yes.

25      Q.    Would there be someone available at the hospital in



                                                                     PLS.' APPX. 013
             Grady Shaw MD   December 9, 2021   NDT Assgn # 54478               Page 43
Case 3:20-cv-00045-D Document 106 Filed 06/19/23        Page 16 of 121 PageID 1484
1 BY MR. TITTLE:

2       Q.    So fair to say that if you had been told on December

3 29th that this woman that has what you're characterizing as a

4 high-risk pregnancy has passed one of her mucus plugs, you

5 would urge immediate action, correct?

6             MS. DRAKE:     Form and foundation.

7       A.    Yes.

8       Q.    And that immediate action would be hospitalization?

9             MS. DRAKE:     Form and foundation.

10      A.    Transport to the hospital for evaluation, not

11 necessarily hospitalization.

12      Q.    Okay.   I mean when you -- hospitalization would be

13 going to the hospital and staying?

14      A.    Yes.

15      Q.    Okay.   Your immediate action then would be -- you

16 would -- believe would be required would be to get her to the

17 hospital to be examined by a trained -- someone trained in

18 obstetrics?

19      A.    Yes.

20      Q.    And in your opinion is that the standard of care?

21            MS. DRAKE:     Form and foundation.         He's not here as an

22 expert today.

23            MR. TITTLE:     Go ahead, you can answer the question.

24            THE WITNESS:     Yes.

25 BY MR. TITTLE:



                                                                     PLS.' APPX. 014
              Grady Shaw MD   December 9, 2021   NDT Assgn # 54478              Page 48
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1       Q.    Do you -- do you believe that you have an ongoing

2 obligation to a patient that you see at the jail while they

3 remain in the jail?

4       A.    Yes.

5       Q.    After you saw Ms. Rodriguez on the 27th and

6 recognizing that she's pregnant with twins, what would your

7 ongoing obligation look like?

8             MS. DRAKE:      Form.

9       A.    It would be that I was -- that I would be made aware

10 of any further problems.

11      Q.    Does your obligation to a patient while they're --

12 while they remain in the jail that you've seen require anything

13 more on your part than simply reacting if you're told?

14            MS. DRAKE:      Objection, form.

15      A.    I sometimes ask the nurses how a particular patient

16 that I've seen is doing.

17      Q.    Do you know if you did that regarding Ms. Rodriguez?

18      A.    No, I don't think I did.

19      Q.    Think I've asked you this, but I just want to

20 clarify.   So at no point did Linda Hullett or anyone else with

21 the jail ever bring to your attention that she has passed her

22 mucus plug or said she passed her mucus plug?

23      A.    No.

24      Q.    And no one at the jail, including Linda Hullett or

25 any of the other nurses, brought to your attention any of the



                                                                      PLS.' APPX. 015
             Grady Shaw MD   December 9, 2021   NDT Assgn # 54478               Page 49
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1 events that are memorialized in the two progress notes that

2 we've talked about?

3       A.    No.

4       Q.    I'm sorry, what time did you say you get to the jail

5 on Wednesdays?

6       A.    Usually around 1:30.

7       Q.    Do you know if Ms. Rodriguez's medical records,

8 progress notes, were made available to you on January 3rd when

9 you arrived at the jail?

10      A.    No, they weren't.

11      Q.    I'm sorry, what?

12      A.    No, they weren't.

13      Q.    They were not made available to you.             Meaning they

14 were -- let me -- let me clarify that.

15            They were available to you if you had gone and pulled

16 the chart, --

17      A.    Yes.

18      Q.    -- but no one brought the chart to your attention?

19      A.    Right.

20      Q.    And the system as it's currently set up relies on

21 these nurses to bring it to your attention?

22      A.    Yes.

23      Q.    And it's for that reason that you don't think that

24 you did anything wrong as it relates to this incident?

25      A.    Yes.



                                                                      PLS.' APPX. 016
              Grady Shaw MD   December 9, 2021   NDT Assgn # 54478                 Page 57
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1       Q.    All right.      And then there's certain things that are

2 required according to SHP --

3       A.     Okay.

4       Q.    -- when someone has a chronic medical condition.              Can

5 you outline or identify what -- what the requirements are?

6             MS. DRAKE:      Objection, form.

7 BY MR. TITTLE:

8       Q.    With respect to chronic medical conditions or things

9 that are defined as chronic medical conditions by SHP, what do

10 the policy -- what does the policy of SHP require?

11      A.     It requires that I review them on a -- on a regular

12 basis.    For instance, hypertensive patients, I go through the

13 hypertension book every week.         Diabetic patients, same thing.

14      Q.    So every Wednesday you go through the -- the book of

15 those patients and look at their charts?

16      A.     I don't necessarily look at their charts.             I look at

17 their numbers.      Sometimes looking at their numbers requires me

18 to pull up their chart and write new orders or --

19      Q.    How do you make sure your orders are carried out?               By

20 orders I'm referring to, you know, your medical orders,

21 physician's orders.

22      A.     I just assume that they are.

23      Q.    How many Physician Orders a week would you say you

24 average?

25            MS. DRAKE:      Form.



                                                                       PLS.' APPX. 017
               Grady Shaw MD   December 9, 2021   NDT Assgn # 54478              Page 58
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1         A.   Four or five.

2        Q.    Is there any reason that on a subsequent Wednesday

3 you wouldn't look at the four or five orders that you'd given

4 the previous Wednesday to make sure that progress was being

5 made?

6         A.   No.   I would just assume that it was.

7        Q.    You will admit that you failed to take any follow-up

8 actions related to Irene Rodriguez following your December 27th

9 exam?

10             MS. DRAKE:      Form.

11        A.   I didn't take any follow-up action, no.

12       Q.    Other than the physician's order on the same date?

13        A.   Right.

14       Q.    But after the physician's order you didn't do any

15 follow-up of Irene Rodriguez or her pregnancy, correct?

16        A.   Right.

17             MS. DRAKE:      Objection, form.

18 BY MR. TITTLE:

19       Q.    Do you believe that you had an obligation to follow

20 up?

21             MS. DRAKE:      Form.

22        A.   No.

23       Q.    But that's only because of the way the contract is

24 set up, right?

25             MS. DRAKE:      Form.



                                                                       PLS.' APPX. 018
             Grady Shaw MD   December 9, 2021   NDT Assgn # 54478              Page 61
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1       A.    Not sure what you're asking.

2       Q.    Well, I mean in this instance you have the -- an

3 individual who examined Ms. Rodriguez on January 2nd --

4       A.    Yes.

5       Q.    -- that did not have the benefit of the entire 12/29

6 note by Linda Hullett because it was entered late?

7       A.    Right.

8             MS. DRAKE:     Form and foundation.

9 BY MR. TITTLE:

10      Q.    At least as it -- at least with respect to what's on

11 the actual charts?

12      A.    Right.

13            MS. DRAKE:     Form and foundation.

14 BY MR. TITTLE:

15      Q.    That's potentially problematic, right?

16            MS. DRAKE:     Form and foundation.

17      A.    Yes.

18      Q.    I mean it's not hard to see in this exact case how

19 the nurse who wrote down information on January 2nd had she had

20 the information in front of her and actually read it on the

21 29th visit could have come to the conclusion that she needed to

22 be taken to the hospital?

23            MS. DRAKE:     Form and foundation, and he's not here

24 today as an expert.

25      A.    I'm not sure what you're asking again.



                                                                     PLS.' APPX. 019
               Grady Shaw MD   December 9, 2021   NDT Assgn # 54478              Page 62
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1 BY MR. TITTLE:

2       Q.     I'm not trying to stand over you, but I'm just --

3 because we have this -- let me just point -- point to them,

4 okay?

5         A.   Yeah.

6       Q.     So -- it's not hard to imagine that if this -- this

7 information that Linda Hullett wrote and calls a late entry, --

8         A.   Yes.

9       Q.     -- starting there and going here, including the

10 language about Dr. Cook and a possible need to send to hospital

11 if certain things occurred, it's not hard to imagine that this

12 individual who wrote the January 2nd note that's there could

13 have seen that and thought she needs to go to the hospital?

14             MS. DRAKE:      Form and foundation, and he's not here as

15 an expert.

16        A.   Yes.

17      Q.     That's fairly obvious, right?

18             MS. DRAKE:      Form and foundation.

19        A.   Yes.

20      Q.     It's very obvious that a late-entered note can have a

21 very significant impact on a medical outcome, right?

22             MS. DRAKE:      Form and foundation, and he's not here as

23 an expert.

24        A.   Yes.

25      Q.     Okay.    What -- so what is -- is there any type of a



                                                                       PLS.' APPX. 020
             Grady Shaw MD   December 9, 2021   NDT Assgn # 54478              Page 63
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1 standard or guideline when entering notes late to avoid a

2 situation like this where the information was potentially

3 significant to someone who had -- had previous entered a note?

4             MS. DRAKE:     Form and foundation.

5       A.    I don't know.

6       Q.    Would you expect the person who entered the note late

7 to review the earlier entry?

8             MS. DRAKE:     Form and foundation.

9       A.    Would I expect the patient -- the nurse that wrote

10 the entry late to have what?

11      Q.    Reviewed the previous note, in other words, the note

12 that may have occurred later in time, but it precedes it on the

13 chart.

14      A.    Yes.

15            MS. DRAKE:     Form and foundation

16 BY MR. TITTLE:

17      Q.    So Linda Hullett has testified that she entered --

18 she wrote the late-entered note on the progress chart like that

19 and actually wrote it on there in the form that you have it --

20      A.    Mm-hmm.

21      Q.    -- on January the 3rd.

22            MS. DRAKE:     Form and --

23      A.    Mm-hmm.

24            MS. DRAKE:     -- foundation.

25 BY MR. TITTLE:



                                                                     PLS.' APPX. 021
             Grady Shaw MD   December 9, 2021   NDT Assgn # 54478              Page 64
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1       Q.    So with that representation, would you expect Linda

2 Hullett to review the preceding note that's dated 1/2 when

3 she's writing the late-entered note?

4             MS. DRAKE:     Form and foundation.

5       A.    Yes.

6       Q.    Is it standard practice with nurses to read a -- the

7 progress notes of a patient that would be preceding the one

8 that they're -- they're writing?

9       A.    Yes.

10      Q.    Good medical practice would require the person

11 writing the note in the progress chart to be familiar with the

12 other notes in the progress chart, correct?

13            MS. DRAKE:     Form and foundation, and he's not here as

14 an expert.

15      A.      Yes.

16            MS. DRAKE:     Is now a good time for a break?         I'm --

17 I'm holding it.

18            MR. TITTLE:     Huh?

19            MS. DRAKE:     I said I'm holding it.

20            MR. TITLE:     Yeah.    Yeah.     Let me think if there's

21 anything else to follow up with him.

22            MS. DRAKE:     Okay.

23 BY MR. TITTLE:

24      Q.    Nurse Hullett mentioned -- were you in here when she

25 was describing putting yellow stickies on a progress note and



                                                                     PLS.' APPX. 022
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1                                  CERTIFICATE

2

3             I, Aria Mendoza, do hereby certify that I reported

4       all proceedings adduced in the foregoing matter and that

5       the foregoing transcript pages constitutes a full, true

6       and accurate record of said proceedings to the best of my

7       ability.

8

9             I further certify that I am neither related to

10      counsel or any party to the proceedings nor have any

11      interest in the outcome of the proceedings.

12

13            IN WITNESS HEREOF, I have hereunto set my hand this

14      23rd day of December, 2021.

15

16

17

18

19                                Aria Mendoza

20

21

22

23

24

25



                                                                PLS.' APPX. 023
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                                                               PLS.' APPX. 024
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                                                               PLS.' APPX. 025
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                                                                PLS.' APPX. 027
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                                                                PLS.' APPX. 028
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                                                                PLS.' APPX. 029
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                         ROBERT J. CARPENTER, JR., M.D., P.A.
                                          Maternal Fetal Medicine
                                          6624 Fannin, Suite 2720
                                           Houston, Texas 77030
Office Phone: (713) 795-4600                                                          Fax: (713) 795-4422



                                               June 22, 2020


Mr. Roger Topham                                                    VIA FACSIMILE: (214) 389-1002
Law offices of Don Tittle, PLLC
6301 Gaston Ave., Suite 440
Dallas, TX 75214

                  Re: Cause # 3:20-CV-0045-D, Irene Rodriguez at al v. Southern Health Partners,
                  Inc. et ai, in the United States District Court, Northern District of Texas, Dallas
                  Division

Dear Mr. Topham,

I reviewed the medical records pertaining to Irene Rodriguez and her twins. The Navarro County
jail, Navarro Regional Medical Center, Baylor University Medical Center-Dallas, and Children's
Medical Center- Dallas as well as information from Olmstead Medical Center in Rochester,
Minnesota as listed in Addendum A. Additional records reviewed included the EMS notes from
the Corsicana Fire Rescue service.


This letter will provide my opinions, based upon the information currently available, concerning
the obstetrical care and treatment rendered to Ms. Rodriguez and her twins by Grady Shaw, MD
and nurse Linda Hullett and my opinions relating to the cause of her twins' neurological injuries.
These opinions are based upon reasonable medical probability. I reserve the right to amend or
supplement these opinions as additional information becomes available.


I graduated 'from Baylor College of Medicine in May 1973 and completed my internship and
residency there (1973-1977) and serving as Chief Resident in OB/GYN from July 1976 to June
1977.      I completed my Fellowship in Maternal Fetal Medicine at Baylor in June 1979 and
performed additional study in OB Ultrasound and Fetoscopy at Yale University School of
Medicine and Hospital from September to October 1977. I am Board Certified in in obstetrics
and gynecology and in the subspecialty of Maternal Fetal Medicine by the American Board of
Obstetrics and Gynecology. My Curriculum Vitae is attached with additional details concerning


                                                                                  PLS.' APPX. 030
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my educational and professional activities. I have been in the active practice of OB/GYN since
graduation and am currently in private practice. My license to practice medicine is currently
active in the state of Texas and on record with the Texas Medical Board.


I am familiar with the standard of care of for physicians, nurses, and other health care personnel
in caring for pregnant women. I have worked extensively with nurses and obstetricians in
obstetrical clinics, in labor and delivery, in postpartum units, and in other obstetrical sites. I am
familiar with the standard of care as to the responsibility of physicians and nurses regarding
appropriate patient and fetal assessment, evaluation, monitoring and intervention. Additionally,
I am familiar with the standard of care regarding the nurses' responsibility for communicating
with and notification of her supervising physician and other health care providers or
responsible superiors as it relates to care of the obstetrical patient.


I have also been in clinical circumstances of both transferring patients to hospitals for higher
level of care and in receiving patients from other hospitals who required higher level of
obstetrical and other medical care in my respective facility.


Additionally, since 1973 in beginning my postgraduate medical training and during the entire
interval since, I have had occaSions, both within labor and delivery and in the obstetrical clinic
at multiple hospitals associated with the Harris County Hospital District (HarriS Health System)
to encounter pregnant women who were inmates in the Harris County jail system who presented
to the hospital for labor and delivery and for outpatient care in the obstetrical high risk clinics.
I am aware of the interaction between the Hospital District medical personnel and the jail
medical personnel in arranging obstetrical visits - both those scheduled and those requiring
emergent assessment of the pregnant woman.


                                       FACTS OF THE CASE


Ms. Irene Rodriguez was a 29-year-old G4 P2-1-0-3 with an LMP of June 25, 2017 and an EDC of
April 1, 2018. Her prior obstetric history included 3 vaginal deliveries on March 14,2008, March
25, 2012, and March 29, 2017 of infants weighing 6# 60z, 5# 60z, and 6# 60z at 40, 34, and 40
weeks gestational age (WGA).

                                                                              PLS.' APPX. 031
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In this pregnancy, her new patient intake occurred on August 14, 2017 (7.3 WGA) and August
30,2017 (9.4 WGA). She was seen initially on September 5,2017 in the Olmstead Medical Center,
in Rochester, Minnesota at 10.3 weeks gestation for new patient evaluation. A diagnosis of a
twin gestation is made as reflected by the radiology referral planned for September 12.
Subsequent visits on September 15, September 19, and October 17, demonstrated normal blood
pressures and an initial weight of 179 pounds with a height of 4 foot 11 (BMI35.4). A weight gain
of 4.5 kg occurred during that interval.


On the visit of October 17, 2017, she related a two-week history of bilateral carpal tunnel
syndrome which had been evaluated in the ER on October 12,2017 by Mary Call, PA-C. She was
wearing hand splints (Velcro wrist braces). A twin multifetal gestation was recognized as a
dichorionic, diamniotic placentation. Her initial laboratory data demonstrated a normal CBC
with a hemoglobin/hematocrit of 13.0/39.9, normal red blood cell indices, and a platelet count of
277,000. She was A positive with a negative indirect Coombs.


Ultrasound evaluations were performed on September 15 and September 19, 2017
demonstrating fetuses with apparent normal anatomy and growth and all scans were
concordant with her LMP dating.


By the planned visit of November 13, 2017 at Olmstead, transfer of her care to the Medical
Associates in Corsicana occurred with translocation of Ms. Rodriguez from Minnesota to Texas.
From annotations present on the medical records the Olmstead medical records were
transmitted to Navarro County Medical Associates on November 13, 2017 (1253h).


In the medical records in Corsicana an examination of a single fetus dated November 16, 2016
is present ordered by Dr. Kenneth Palmer and signed by Dr. Diya Odeh. A normal
transabdominal cervical length of 45 mm was noted. This exam was performed in the Olmstead
Clinic concerning the prior pregnancy delivered in March 2017.


In Corsicana, Texas, on November 29, 2017 at 22.4 weeks gestation her blood pressure was
122/70 with a weight of 190 pounds, and the ultrasound exam demonstrated viable twins with

                                                                           PLS.' APPX. 032
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normal amniotic fluid, and a notation of a cervical length of 55 mm is present. Prior to this
ultrasound exam, she established obstetrical care with the Medical Associates of Navarro
County and Dr. Michelle Spears. She was noted to be A-positive with a negative indirect Coombs
and with a positive rubella and hepatitis B surface antigen. No known allergies were present,
and the history of a prior preterm delivery at 34 weeks gestation following a fall in March 2012
was noted. The twin pregnancy was affirmed. This visit of November 29, 2017 is the only
antenatal visit documented before her arrest and incarceration at the Navarro County Jail. A
later note of a phone call of December 29,2017 is written by Dr. Charles Cook.


Medical records are available from the Navarro County jail with a notation on December 22, 2017
indicates Ms. Rodriguez had a twin pregnancy at six months gestation without complication.
Her use of obstetrician Dr. Spears is noted, and the use of prenatal vitamins was approved by
the nurse, Linda Hullett.


On December 27, 2017, a notation is made by Dr. Grady Shaw that her second child was
premature at 33 weeks gestation with a weight of 5 pounds. Ms. Rodriguez was noted to be
having contractions and that she was to see Dr. Spears, her obstetrician, on December 28,2017,
"appointment tomorrow.". The note indicates that she is in jail for a probation hold, and her
parole officer is Brenda Ross. Her weight was 192 pounds, her blood pressure 106170, and a
maternal heart rate of 95 bpm with an oxygen saturation of 97% was present. A prepregnancy
weight of 140 pounds is noted. Examination was performed, and a 34-week uterus was found
without tenderness.


The next note on December 29, 2018 at 1354 hrs. indicates that Ms. Rodriguez was having
contractions and she was instructed to tell Ms. Hullett when contractions started and stopped.
Between 1403 and 1434 hrs. Ms. Rodriguez had nine contractions ranging from 3 to 25 seconds
and lasting 2 to 6 minutes. The pattern was described as irregular and spastic.


Other notes are subsequently present under the indication of late notes. The first of these is
noted on December 29, 2018 at 1500 hrs., approximately one hour after the previous note. She
indicated that she spoke to the on-call obstetrician, Dr. Charles Cook, to relay information on

                                                                          PLS.' APPX. 033
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Ms. Rodriguez. Dr. Cook instructed her that if the patient continued with contractions and has
concern that she is to be sent to the hospital L&D to be checked. The note was signed by Linda
Hullett.


The next note which is also under the heading of late entry was on January 2, 2018 at 1400,
where an indication of an obstetrical appointment on January 9, 2018 with Dr. Spears is noted.
The appointment would be preceded by an ultrasound at 1400, and she would see Dr. Spears
afterwards. Linda Hullett was the signing nurse. On January 2, 2018 at 1928 contractions at 2 to
4-minute intervals over.20 minutes were noted which lasted 19 to 26 seconds. Her blood
pressure was 116n6, and a notation indicating that Ms. Rodriguez had neither pain nor distress
was seen. She was returned to her cell and they were to notify the medical section if worsening
symptoms occurred.


Two orders are noted within the medical section notes. On November 23, 2017, an order for one
prenatal vitamin daily to be administered to Irene Rodriguez is noted. The second order on
December 27, 2017 at 1538 hrs. signed by Dr. Grady Shaw states "get in to see Dr. Spears .....
ASAP". Nothing in the records indicates that this visit to Dr. Spears, or any examination by an
obstetrician, ever occurred.


The next set of notes from the Navarro County jail are within a jail incident report of January 9,
2018. A distinct timeline beginning at 0450 and concluding at 0600 are related.


An abstracted summary of the notes indicates that at 0450 Officer Betty Heggins notified Sgt.
Robin Woodall of contractions in Ms. Rodriguez that were occurring at three-minute intervals.
Sgt. Woodall contacted nurse Hullett, and Sgt. Woodall knew that Irene Rodriguez had stated
several times that she was having contractions. Nurse Hullett said to transfer Ms. Rodriguez to
a medical cell for observation, and the jail staff began accomplishing that move.


At 0512 a medical cell was available, and Sgt. Woodall went to escort Irene Rodriguez to the
medical section.



                                                                           PLS.' APPX. 034
    Case 3:20-cv-00045-D Document 106 Filed 06/19/23 Page 37 of 121 PageID 1505
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At 0515 in walking Irene Rodriguez to the medical cell, Ms. Rodriguez indicated the contractions
were coming regularly. At 0516 Sgt. Woodall began timing her contractions and the contraction
frequency over approximately 10 minutes with contractions noted at approximately one-minute
intervals (53 - 63 seconds apart). The data was given to nurse Hullett who said to continue
timing contractions. Officer Betty Rivera was present to assist Sgt. Woodall.


At 0528 Sgt. Woodall heard water hitting the floor. The baby's head was visible under the
patient's jumper and Sgt. Woodall help the baby who began to cry and breathe. Ofc. April Martin
arrived, and officer Rivera called for clean towels and blankets. The baby was placed in a clean
blanket and the baby was having difficulty breathing. The baby was placed in an officer's hand
in the back was rubbed; however, the baby continued to not breathe. The little girl did not cry
or appear to breathe. Sgt. Woodall called nurse Hewitt and attempted to find a nasal aspirator,
but none was available. Ofc. Martin began rescue breathing for the baby and the baby expelled
mucus from the nose and stopped breathing, so additional rescue breathes were administered
by officer Martin.


At 0535 EMS was on site and at 0536 EMS entered the jail to respond to the E-52 alert. Sgt.
Woodall gave the EMTs information concerning Irene Rodriguez and the baby. The baby's
airway was suctioned. At 0547, a second EMS unit was dispatched.


At 0550 Irene Rodriguez began pushing again and at 0551, the second baby, a little male, was
born.


At 0555 the female infant was transferred to the hospital, and at 0600 Irene Rodriguez and the
second twin were placed in the EMS unit for transfer to Navarro County Regional Medical
Center, accompanied by officer Rivera.


Capt. Charlie York was informed of the clinical situation by Sgt. Woodall.


Corresponding notes from the Corsicana Fire Rescue unit dated January 9, 2018 were available
for review. On arrival of EMS unit one, the patient was supine with her knees bent upward. The

                                                                             PLS.' APPX. 035
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baby was partially delivered with the legs and hips inside mother and the sac was not intact,
with bloody show present. The baby girl was being supported by the jail staff. MS delivered the
baby girl (twin one) and the cord was clamped, cut, and the mouth was suctioned till clear. They
suctioned the nose with the bulb syringe and a week cry, which declined in status was noted.
Mask ventilation was begun with high flow oxygen initially and with subsequent warming and
physical stimulus a positive response occurred within 10 minutes.


M-4 arrived, and care of Irene Rodriguez was assumed. The E-1 crew transferred the care to the
M-4 unit who continued to take care of the baby girl "A".


The E-1 unit prepared for delivery of twin two. The baby was cephalic with the face down with
swift delivery of the baby's body. The baby was warmed, stimulated, and assisted with breathing
by bag and mask (BVM). Nonsterile but clean cord cutting technique was used for the umbilical
cord of twin B.


Fundal massage was applied to Ms. Rodriguez but was not effective in hemorrhage control. The
placenta was ultimately delivered at Navarro Regional Hospital. Ms. Rodriguez had an 18-gauge
IV line placed in the left-hand with 1 liter of normal saline begun. The note by the EMS team
shows notification at 0532, time on scene at 0538, and with the patient at 0540. They
subsequently departed for Navarro Regional Hospital at 0610 with arrival at the hospital at 0615.


I will not recite the further care of the babies both at the jail by the correctional officers, or by
the EMS personnel, or at the hospital or review information in any detail concerning the care of
Ms. Rodriguez at Navarro Regional Medical Center. Difficulty was encountered in caring for both
twins including at least 33 minutes of CPR performed on Twin "AA" from 0730 to 0803, and that
information is reflected within the medical records available from the hospital. Notes and
appropriate documentation for the care of Mrs. Rodriguez at Navarro Regional Medical Center
are also available and were reviewed.




                                                                              PLS.' APPX. 036
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                                           ANALYSIS


The medical care provided to Irene Rodriguez while aUhe Navarro County jail by both Dr. Shaw
and nurse Hullett was below the standard of care. There are rules in the jail medical section that
it was to serve as recipients of information from the correctional officers and from inmate
complaints (and specifically Hullett was to receive such information, as she was the nurse in
charge of the medical section and the only medical employee present most of the time).
Information was clearly available to Dr. Shaw and to nurse Hullett that Irene Rodriguez had a
twin pregnancy, a prior preterm delivery, and medical care that was appropriate was scheduled
for December 28, 2017 by Dr. Spears. That information was noted by Dr. Shaw in his note of
December 27 with the additional notation that she was to be seen ASAP by the obstetrical
personnel. That order was not executed which is a clear breach of the standard of care.


Both Dr. Grady Shaw and nurse Linda Hullett knew or should have known that a twin pregnancy
having frequent contractions over multiple days or weeks was an extremely high-risk
circumstance that required appropriate evaluation by trained obstetrical personnel. For over 4
decades the known preterm delivery rate for twin gestations has remained in the 45-50% range.
Their general knowledge should have included that increased risk for prematurity especially
when caring for a pregnant woman with twins in their jail and that knowledge should have
applied to what was occurring to Ms. Rodriguez. Shaw also notes that Rodriguez should
continue to be monitored at the jail. This was necessary due to the high-risk nature of a twin
pregnancy, compounded by Rodriguez's prior preterm delivery and the fact that she was already
showing indicators of possible preterm labor. Shaw and Hullett had a continuing duty to
monitor Rodriguez; however, records indicate that Rodriguez was not examined by anyone after
January 2.


The note by Dr. Grady Shaw on December 27, 2017 at 1520 is followed temporally by a note of
January 2, 2018 at 1928, and I am unable to read the name of the Signer (? P. Clark).


The January 2, 2018 note indicates Ms. Rodriguez was complaining of having contractions and
the contractions were timed for 20 minutes with contractions occurring every 2 to 4 minutes.

                                                                            PLS.' APPX. 037
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The signer did not consider the patient to be in any pain or distress. Because of that information
no further action was taken with the contractile activity that occurred at 1928.


However, the late entry notes which all have a year of 2018 annotated begins with a note of 12­
29-18 at 1354 that indicates the presence of mucous plug passage and being in labor. Nurse
Hullett also indicates in a later note at 1500 that she spoke with the on-call physician, Dr. Cook,
to relay information concerning Ms. Rodriguez. Dr. Cook instructed nurse Hullett that if the
patient continued with "this" and has concerns that she is to be sent to the hospital L&D to be
checked. This series of late notes appear to be written at the same time and with the same pen.
I do not see a signature following the 1354 note which suggests that it was written by Ms. Hullett.


Due to the failure to appropriately annotate the chart with contemporaneous medical records
that were of substantial importance to later caregivers, the RN observer (? P. Clark) who wrote
the note on January 2, 2018 was unaware of Dr. Cook's instructions that if other contractions
occurred that Ms. Rodriguez was to be seen and evaluated at the hospital L&D. This critical
lapse prevented that nurse from seeing and carrying out Dr. Cook's request for transfer of Ms.
Rodriguez to the Navarro Regional Medical Center L&D for further evaluation. More likely than
not, on January 2, 2018, a finding of preterm labor and likely maternal cervical change would
have been ascertained and appropriate obstetrical care instituted.


Due to the absence of depositions, affidavits, or any other demonstrable evidence, I am unable
to determine when the late entry notes were written since a standard notation of when a late
entry is incorporated within the medical record is absent from these records. Standard rules of
medical record annotation require a late entry to be timed and dated. No such data is seen.


Given the facts of the last paragraph, it is not possible to know whether the information
designated as late entry was written on January 2, 2018 or at some other time, but it was
certainly entered sometime after the note from January 2 at 1928.


The totality of the information available suggests that at multiple occasions between December
27 and her ultimate delivery on January 9, 2018, the potential for interdiction of the ultimate


                                                                            PLS.' APPX. 038
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preterm delivery in the Navarro County jail was possible. I understand from looking at the limited
notes of the jail incident report that the correctional officers including Sgt. Woodall knew that
Ms. Rodriguez was having contractions. After the delivery of the twins occurred on January 9,
Woodall reported that Hullett had "knowledge of Inmate Rodriguez's current medical situation
regarding her pregnancy" and that "Rodriguez had stated several times prior to this that she
had been having contractions." It is reasonable to believe that nurse Hullett was also aware of
that contractile activity as the correctional officers would be bound to inform the medical
personnel of such events occurring to their inmate population.


If timely notes had been applied to the medical record with the instructions as noted from Dr.
Cook that the patient was to be seen if further contractions occurred had been known to the
nurse observer on January 2, 2018, a reasonable nurse faced with such information would likely
have arranged evaluation of Ms. Rodriguez by medical personnel at the Navarro Regional
Medical Center. The rapidity of her labor and delivery suggests that at some time prior to her
delivery substantial change in the cervix occurred and such information was not known to the
medical personnel at the Navarro County jail since they were neither obstetricians nor
obstetrical nurses.


Because of the absence of specific knowledge, further communication with obstetrical
caregivers that should have occurred that would likely have prevented the unassisted vaginal
delivery of twins in the jail cell, would have allowed the potential for an immediate neonatology
evaluation and management, and a significant probability of a far better outcome than occurred
as reflected in the numerous records from both the Navarro County Hospital, Baylor University
Medical Center, and Children'S Medical Center in Dallas.


Most specifically, evaluation and management by an obstetrician would likely have led to the
administration of Celestone Soluspan which is administered to any woman who is believed to
be at increased risk for early preterm delivery in an effort to allow for maturation of the fetal
lungs, for a decreased incidence of necrotizing enterocolitis (NEC), and for a substantial
reduction in incidence of interventricular hemorrhage or other forms of intracranial
hemorrhage. The failure of appropriate obstetrical evaluation over this approximate two-week

                                                                           PLS.' APPX. 039
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window of contractile activity and cryptic cervical change allowed for rapid labor and delivery
within the jail itself which deprived the unborn twins of appropriate immediate neonatal care
that more likely than not would have changed their ultimate medical course.


It is highly probable that if appropriate obstetrical referral had been made to the Navarro
Regional Medical Center obstetrical personnel including Doctors Cook and Spears that
evaluation would have suggested an increased probability of preterm delivery. Just as transfer
of the babies post-delivery occurred to the Baylor University Medical Center for neonatal care,
it is highly probable that a maternal transfer would have been accomplished which would have
placed Ms. Rodriguez in the care of the obstetrical and neonatal staff at Baylor University
Medical Center where appropriate level 3/4 neonatal care would have been immediately
available. More likely than not, this advanced level of neonatal care would have prevented the
adverse neonatal outcomes subsequently experienced by both twins. The obstetrical and
neonatal literature has a robust database concerning the importance of local hospital transfer
of mothers at increased risk for early delivery to more specialized regional obstetrical and
neonatal centers that is known to substantially decrease both maternal and neonatal adverse
outcomes. At the time of this incident, that antenatal, predelivery transfer was standard of care
in Texas


The need for obstetrical evaluation is clear from the records that are available. It is likely that as
evidence is acquired during the discovery phase of this case that a better view of the timeline
of patient contractions and the information that was given to and known by both correctional
officers and medical personnel at the Navarro County jail will become available.


                                              OPINION


Given the totality of the information available from the current records reviewed, both nurse
Hullett and Dr. Grady Shaw failed in their medical responsibilities to provide appropriate care
to Ms. Irene Rodriguez and her unborn twins during her stay in the Navarro County jail. This
failure of providing appropriate care directly led to the pre-term delivery of Ms. Rodriguez at the
Navarro County jail on January 9, 2018 unattended by appropriate medical personnel who could

                                                                               PLS.' APPX. 040
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provide appropriate resuscitation and other acute medical and neonatal management to both
Miss Rodriguez and her newborn twins.


Additionally, failure to have timely obstetrical evaluation prevented the administration of
appropriate medications such as Celestone Soluspan and magnesium sulfate which are known
to improve neuroprotection due to an early preterm delivery and decrease the ultimate incidence
of cerebral palsy and other severe preterm neonatal afflictions such as necrotizing enterocolitis
and intracranial hemorrhage. This same failure to provide timely obstetrical evaluation likely
lead to failure to have Miss Rodriguez medically transported to a higher level obstetrical and
neonatal unit where appropriate care for her preterm infants would be available.


It is clearly reflected in the available data from the notes by the correctional officers involved in
her transfer from her jail cell to the medical section on January 9, 2018 and the notes reflected
by the Corsicana Fire Rescue EMS personnel that both twins were without oxygen, had difficulty
breathing, required warming, and were likely deprived of oxygen and heat normally required to
maintain normal neonatal bodily functions that can decrease the potential for adverse
physiologic effects in the newborn preterm infant.


With reasonable probability, if nurse Hullett had instructed Sgt. Woodall to call the Corsicana
Fire Rescue unit upon her first notification that contractions were present at a one minute
interval, the EMS unit would have been present on scene when Miss Rodriguez delivered twin
"AA" as they were subsequently for the delivery of twin "BB." The documented timeline from
notification to arrival on the scene at Ms. Rodriguez's bedside was eight (8) minutes. The
presence of the EMS crew at her delivery may well have changed the outcome for baby girl
Rodriguez.


As a direct result of the failure of appropriate obstetrical medical care provision/referral,
untimely delivery at the Navarro County jail, and non-availability of trained resuscitative
personnel, the severe neurologic and other outcomes suffered by the Rodriguez twins occurred.




                                                                              PLS.' APPX. 041
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More likely than not, if proper medical care by nurse Hullett and Dr. Grady Shaw had been
provided, much of the neonatal and subsequent neurologic and other injuries experienced by
the Rodriguez twins would have been prevented. Shaw failed to follow up on Rodriguez in any
way, thus breaching his duty to monitor her health and verify that she had seen an obstetrician
as he had ordered. Hullett breached the standard of care by failing to follow both Shaw's order
to have Rodriguez seen by Dr. Spears and Dr. Cook's subsequent instruction, failing to record
critical notes in a timely manner, failing to monitor Rodriguez after January 2, and generally
failing to ensure Rodriguez received appropriate obstetrical care.


I fully understand that other information will become available as this case is being developed.
If my opinions change concerning any element of the current analysis, I will notify you as Ms.
Rodriguez's attorney so that those opinions can be shared with all parties in this action.


A signed copy of this letter will be transmitted by fax and a copy will be sent by USPS.


Thank you for the opportunity to have reviewed this matter.

~U~~~
Robert J. Carpenter, JR. MD JD




                                                                          PLS.' APPX. 042
    Case 3:20-cv-00045-D Document 106 Filed 06/19/23 Page 45 of 121 PageID 1513
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                                         Addendum A


Analeyah Marie Rodriguez/Lopez:

Analeyah Marie Rodriguez - Navarro 01-09-2018 MR                            6,177 KB
Ana Rodriguez - Navarro Reg Hosp - part 2                                  13,941 KB
MR - Baylor University Medical Center at Dallas - A.R. - Part 1            17,587 KB
MR - Baylor University Medical Center at Dallas - A.R. - Part 2            17,239 KB
20200527_173342 Analeyah Rodriguez (JPEG images)                            2,242 KB




Benjamin Ramon Rodriguez/Lopez:

Navarro Regional Hospital
      BR_NRH 1                                                              8,490 KB
      BR_NRH 2                                                              9,262 KB
      BR_NRH 3                                                              7,157 KB
      BR_NRH 4                                                              5,277 KB
      BR_NRH 5                                                              7,112 KB
      BR_NRH 6                                                              3,947 KB

MR - Baylor University Medical Center at Dallas - B.R.-Part 1 - (No Aff)   22,778 KB
MR - Baylor University Medical Center at Dallas - B.R.-Part 2              23,829 KB
MR ­ Children's Medical Center Dallas - BR 1                                  194KB
MR ­ Children's Medical Center Dallas - BR 2                                  462KB




Irene Rodriguez:

Navarro County Jail Records                                                 1,944 KB
MR - Corsicana Fire EMS ­ Irene                                               937 KB
MR ­ Medical Associates of Navarro County - Dr. Spears                      4,205 KB
MR - Olmstead Medical Center Hospital - Irene                               1,895 KB



1 Complaint                                                                    240KB




                                                                           PLS.' APPX. 043
       Case 3:20-cv-00045-D Document 106 Filed 06/19/23                Page 46 of 121 PageID 1514
                                                                                         Carpenter - 1

                                          CURRICULUM VITAE
PERSONAL HISTORY

       Name and Address             Robert James Carpenter, Jr., M.D., J.D.
                                    101 Westcott Street, Unit 803
                                    Houston, TX 77007-7031
       Date & Place of Birth        November 7, 1945
                                    Dallas, TX
       Marital Status               Married: Addie Flowers Carpenter
                                    Children: Craig Barrett Carpenter
       Social Security #:           Not Released
       Texas Medical Lic #:         E 0847
EDUCATION
       Hardin-Simmons University             September 1965 – August 8, 1968        B.A. Magna Cum Laude
       Abilene, Texas                                                                    Biology Chemistry

       Baylor College of Medicine            September 9, 1968 - June 6, 1973                 M.D. Degree
       Houston, Texas                                                                           with honors
       University of Houston Law Center      May 22, 2002 to May 12, 2006                     J.D.

Fellowships
       National Science Foundation       June 1967 – August, 1967                          Radiophysics &
       Atomic Energy Commission                                                             Radiochemistry
       Summer Training Fellowship                                           (Clarence C. Lushbaugh MD/PhD)
       Oak Ridge Associated Universities
       Oak Ridge, Tennessee
       University of Texas                   June 1968 – August 1968                     Molecular Biology
       M.D. Anderson Hospital
       Houston, Texas
Military Service
       U.S. Naval Reserve (Enlisted)         11/19/62 – 07/03/68                Disbursing Clerk 2nd Class
       U.S. Naval Reserve (Officer)          07/03/68 – 07/03/92                Medical Corps – Commander
POSTGRADUATE TRAINING

       Baylor College of Medicine               1969 - 1971                           M.D., Ph.D. Program
       Department of Anatomy                                           Under Robert A. Liebelt, M.D., Ph.D.
       "Physiology of Lipid Metabolism
        in Pregnancy and During Lactation"
       Baylor College of Medicine            June 1973 – June 1974                 Rotating Intern-OB/GYN
       Houston, Texas
       Baylor College of Medicine            July 1974 – June 1976                     Resident in OB/GYN
       Houston, Texas
       Baylor College of Medicine            July 1976 – June 1977                   Chief Res. in OB/GYN
                                                                                        PLS.' APPX. 044
      Case 3:20-cv-00045-D Document 106 Filed 06/19/23                     Page 47 of 121 PageID 1515
                                                                                             Carpenter - 2

      Houston, Texas
      Baylor College of Medicine              July 1977 – June 1979                            Fellow in Maternal
      Houston, Texas                                                                               Fetal Medicine
      Yale University                         September – October 1977                         OB Ultrasound
      New Haven, Connecticut                                                                      and Fetoscopy
      Under Dr. John Hobbins
BOARD CERTIFICATION
      American Board of Obstetrics and Gynecology, Diplomat (1980)
      American Board of Obstetrics and Gynecology, Subspecialty, Maternal Fetal Medicine (1982)
      American Board of Obstetrics and Gynecology, (Recertification-Aug 1993)
      AIUM Ultrasound Practice Accreditation Obstetrics (April 15, 1998-Oct 15, 2004)

APPOINTMENTS (June 1979-Aug 2006)
      Assistant Professor, Baylor College of Medicine, Dept of OB/GYN, July 1979-Nov 1987
      Assistant Professor, Institute of Molecular Genetics, Baylor College of Medicine, Nov 1985-June 1994
      Associate Professor, Baylor College of Medicine, Dept of OB/GYN, Nov 1987-June 1994
      Program Director, Maternal Fetal Medicine, Baylor College of Medicine, Jan 1991-Dec 1992
      Clinical Associate Professor, Baylor College of Medicine, Dept of OB/GYN, July 1994-Aug 2006
      Clinical Associate Professor, Baylor College of Medicine, Dept of Molecular & Human Genetics, July 1994-Aug 2006
      Clinical Associate Professor, Baylor Center for Ethics & Health Policy, 2004-2006
      Clinical Professor, University of Texas Medical Branch, Galveston, TX, 2000-2006
      Examiner, American Board of Obstetrics and Gynecology (1995)
APPOINTMENTS (Sept 2006-Present)
      Associate Professor, Baylor College of Medicine, Department of OB/GYN, Sept 2006-Present
      Associate Professor, Baylor College of Medicine, Department of Molecular & Human Genetics – Sept 2006-Present

PROFESSIONAL SOCIETIES
      American College of Obstetricians and Gynecologists, Fellow 1980
      Society of Maternal Fetal Medicine
      Central Association of Obstetrics and Gynecology
      American Society of Human Genetics (End 2006)
      Fetoscopy Study Group
      International Fetal Medicine & Surgery Society
      American Institute of Ultrasound in Medicine
      American Diabetes Association (end 2006)
      Harris County Medical Society
      Texas Medical Association
      Texas Perinatal Association
      Houston Obstetrics & Gynecology Society

BASIC CARDIAC LIFE SUPPORT FOR HEALTHCARE PROVIDERS
      American Heart Association — Feb 2, 1998-Feb 2, 2000


HOSPITAL AFFILIATIONS

                                                                                              PLS.' APPX. 045
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                                                                                       Carpenter - 3

    St. Luke's Episcopal Hospital/Baylor St. Luke’s Medical Center                   Attending OB/GYN
    6720 Bertner Avenue                                                                  1977 to present
    Houston, Texas 77030

    Texas Children’s Hospital                                                 Active – Gynecology Service
    6621 Fannin Street                                                                    1979 to present
    Houston, TX 77030
    Houston Methodist Hospital                                                 Senior Attending OB/GYN
    6565 Fannin Street                                                                    1978 to present
    Houston, Texas 77030
    HCA Woman's Hospital of Texas                                                      Consultative Staff
    7600 Fannin Street                                                                   1979 to present
    Houston, Texas 77054
    Harris County Hospital District                                                     Active OB/GYN
    Harris Health System
    Ben Taub General Hospital                                                            1977 to Present
    1504 Taub Loop
    Houston, Texas 77030
    Memorial Hermann Hospital – TMC                                                       Courtesy Staff
    1203 Ross Sterling Avenue                                                              1980 to 1985
    Houston, Texas 77030                                                                   2011 to 2012
COMMITTEES-STANDING
    Harris County Hospital District — Ended June 30, 1994
           Transfusion Committee
           Quality Assurance Committee - OB/GYN
           Ob/Gyn Records Committee
    Harris County Medical Society
           Medical Student Committee (Dates not known)
    St. Luke's Episcopal Hospital
           OB Collaborative, Pharmacy, & Nursing Committee (1990 – present)
           OB/GYN Service Committee
           Perinatal Morbidity & Mortality Committee (1990 – present)
           OB/GYN Medical Record Screening Committee – (1980-1998, 2001, 2011 - )
           Transfusion Committee (1990 – 2006)
           Ethics Committee (Chair) ended 12/31/06
           Credentials Committee (1999 – present)
           Institutional Review Board (Vice-Chair) (1999-2003)
           Medical Executive Committee (2000-2001) (2011-2012)
           Nutrition Subcommittee of Quality of Care Committee (1998 – 2006)
           Pharmacy, Nutrition, and Therapeutics Committee (2010-present)


    Houston Methodist Hospital

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              Perinatal Morbidity & Mortality Committee (2013 to present)
              Transfusion Committee (ended)
              Termination of Pregnancy Committee

       Texas Children's Hospital
              OB/GYN Service Committee
              Perinatal Morbidity & Mortality Committee (1990 – present)
              Ethics Committee (2008 – present)
              Collaborative Practice Committee (2012 to present)
              OB/GYN Quality Review Committee (2012 to present)

       Baylor College of Medicine
              Curriculum Committee (ended)
              Student Promotions Committee - 1988-1990
              Professional Practices Activities Committee (1984-1994) (2007 – present)
              Medical Liability Insurance Committee (2008 to present)
              Nurse Midwifery Selection Committee (ended)
              Medical Student Elective Committee (ended)
              Liaison Committee on Medical Education-1993
       Baylor College of Medicine Obstetrics/Gynecology Departmental Committees
              Fellow Selection Committee
              Resident Selection Committee
              (All concluded June 1994)
              Resident Selection Committee (New) Sept 2006 to present
       Central Association of Obstetricians & Gynecologists
              Bylaws Committee (1993-1994) (2016 to present)
              Program Committee (1999-2001)
REVIEWER
       1.     American Journal of OB/GYN
       2.     Obstetrics and Gynecology
       3.     Journal of Clinical Ultrasound
       4.     The Journal of Maternal-Fetal Medicine
       5.     Journal of Reproductive Medicine
       6.     Fetal Therapy
       7.     Texas Heart Institute Journal
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   3. Hadlock FP, Deter RL, Carpenter RJ Jr, Park SK, and Athey PA: Hypervascularity of the uterine wall during
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   4. Deter RL, Harrist RB, Hadlock FP, and Carpenter RJ Jr: The use of ultrasound in the assessment of normal
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BIRTH WEIGHT DISCORDANCY AMONG REMAINING FETUSES AFTER MULTIFETAL
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        Evans MI, Nicolaides K, Goldberg JD, Wapner RJ, Horenstein J, Dommergues M, Timor-Tritsch I,
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METHODS OF INITIATION OF MULTIFETAL PREGNANCIES: IMPLICATIONS FOR OUTCOMES
FOLLOWING MULTIFETAL PREGNANCY REDUCTION. Submitted to Society for Gynecologic
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WAVEFORMS OF THE VASCULAR SYSTEM OF THE ANEMIC FETUS AND ITS RELATION TO FETAL
HEMATOCRIT. Tenth Annual Meeting of the Society of Perinatal Obstetricians; Houston, Texas; January, 1990.

      Moise KJ Jr, Deter RJ, Kirshon B, Adam K, Patton D, Carpenter RJ: INTRAVENOUS PANCURONIUM
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Gynecologic Investigation. St. Louis, MO. March, 1990.

       Woo SY, Fuller LM, Cundiff JH, Hagemeister FB, Bondy ML, Allen PK, Carpenter RJ. RADIOTHERAPY
DURING PREGNANCY FOR STAGES IA - IIA HODGKINS'S DISEASE. Presented at the 32nd annual meeting of the
American Society for Therapeutic Radiology and Oncology, Miami Beach, FL, October, 1990.

       Smith LG, Carpenter RJ, Reiter A, Kirshon B: AN EVALUATION OF 15-METHYL PROSTAGLANDIN F2
ALPHA (HEMABATETM) AND DILAPANTM FOR TERMINATION OF ABNORMAL PREGNANCIES. 11th
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        Smith LG, Jr., Faro S. Reiter A, Gonsoulin W, Carpenter RJ. BACTERIOLOGY ASSAY OF PATIENTS
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     Hallak M, Moise KJ Jr., Hesketh DE, Cano LE, Carpenter RJ. INTRAVASCULAR TRANSFUSION OF
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UMBILICAL VENOUS PRESSURE. SPO MEETING, ORLANDO, FL, FEBRUARY, 1992.

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GESTATIONAL AGE ON FETAL ARTERIAL PRESSURE. Annual SPO Meeting, Las Vegas, Nevada. January 24-29,
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       Saade G, Belfort M, Gray G, Carpenter RJ, Moise KJ Jr. ULTRASONOGRAPHIC MEASUREMENT OF
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Investigation on October 26, 1998.

     Evans MI, Wapner R, Carpenter RJ Jr, et al. INTERNATIONAL COLLABORATION ON
MULTIFETAL PREGNANCY REDUCTION (MFPR): DRAMATICALLY IMPROVED OUTCOMES WITH
INCREASED EXPERIENCE. Submitted to Society for Gynecologic Investigation on October 26, 1998.

ABSTRACTS PRESENTED
      Moise KJ Jr, Carpenter RJ Jr, Deter RL:                   COMBINED INTRAPERITONEAL AND
INTRAVASCULAR APPROACH TO FETAL TRANSFUSION FOR RHESUS ISOIMMUNIZATION. 7th
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INTRAVASCULAR APPROACH TO FETAL BLOOD TRANSFUSION FOR RED CELL
ISOIMMUNIZATION. Fourth Annual Meeting of the International Fetal Medicine and Surgery Society.
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VASCULAR SYSTEM OF THE HUMAN FETUS BEFORE AND AFTER INTRAVASCULAR
TRANSFUSION FOR SEVERE RED CELL ALLOIMMUNIZATION. 2nd International Meeting: Fetal-
Doppler. Paris, September, 1989.

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WAVEFORMS OF THE VASCULAR SYSTEM OF THE ANEMIC FETUS AND ITS RELATION TO
FETAL HEMATOCRIT. Tenth Annual Meeting of the Society of Perinatal Obstetricians; Houston, TX.
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     USNICHD Collaborative CVS Study Group. TRANSCERVICAL AND TRANSABDOMINAL
CHORIONIC VILLUS SAMPLING ARE COMPARABLY SAFE PROCEDURES FOR FIRST TRIMESTER
PRENATAL DIAGNOSIS: PRELIMINARY ANALYSIS. Am J Hum Genet 1990;47:A278

        Mari G, Kirshon B, Carpenter RJ Jr, Gonsoulin WJ, Cotton DB. FETAL URINE OUTPUT AND
RENAL ARTERY VELOCIMETRY IN TWIN-TWIN TRANSFUSION SYNDROME. 37th Annual Meeting
of the Society of Gynecologic Investigation. St. Louis, MO. March, 1990.

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the 32nd annual meeting of the American Society for Therapeutic Radiology and Oncology, Miami Beach, FL,
October, 1990.

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Francisco, CA. January, 1991.

        Smith LG, Jr., Faro S. Reiter A, Gonsoulin W, Carpenter RJ Jr. BACTERIOLOGY ASSAY OF
PATIENTS WHO UNDERWENT CHORIONIC VILLUS SAMPLING. 11th Annual Meeting of the Society
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     Hallak M, Moise KJ Jr., Hesketh DE, Cano LE, Carpenter RJ Jr. INTRAVASCULAR
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     Goodrum L, Saade G, Belfort M, Knudsen L, Carpenter RJ Jr, Moise KJ Jr. THE EFFECT OF
INTRAUTERINE TRANSFUSIONS ON FETAL SERUM BILIRUBIN IN RED CELL
ALLOIMMUNIZATION. Annual SPO Meeting. Las Vegas, NE. January 24-29, 1994.

      Saade G, Belfort M, Gray G, Carpenter RJ Jr, Moise KJ. ULTRASONOGRAPHIC
MEASUREMENT OF CROWN-RUMP LENGTH IN HIGH ORDER MULTIFETAL PREGNANCIES.
Annual SPO Meeting, Las Vegas, NE. January 24-29, 1994.

LECTURES or PRESENTATIONS GIVEN (1994 - Present)
City of Houston Health Department. “Maternal Fetal Health - Myth or Reality” March 30, 1994. Houston, TX.

Annual Meeting of the American Association of Legal Nurse Consultants: “Medical Legal Issues in Obstetric
Practice.” April 23, 1994. Houston, TX.

City Health Department. “Fetal Anomalies” July 27, 1994. Houston, TX.

St. Luke’s Episcopal Hospital Labor & Delivery. “Diabetes in Pregnancy.” November 14, 1994. Houston, TX.

St. Luke’s Episcopal Hospital. “Beyond Case Management: Gearing Up for Outcomes Management.” March 9-
10, 1995, Houston, TX.
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Costa Rican OB/GYN Society. (1) “Ethical Implications of Prenatal Diagnosis.” Primary Care: (2) Asthma:
Medical Management and Complications.” (3) “Cardiovascular Disease in Pregnancy.” June 7-9, 1995, Costa
Rica.

Baylor College of Medicine. “Primary Care: Asthma/Pregnancy” July 19, 1995. Houston, TX.

Nineteenth Annual Houston Perinatal Nursing Symposium. The Operating “Womb” : Surgery on the Pregnant
Woman. October 27, 1995, Houston, TX.

Fetal Assessment Grand Rounds Series. “Perinatal Asphyxia” April 25, 1997, Houston, TX.

Twenty First Annual Houston Perinatal Nursing Symposium. “Tuggin’ on Mom’s Heart Strings: Management
of Maternal Cardiac Disease.” October 24, 1997, Houston, TX.

Grand Rounds, Baylor Department Pediatrics: “Twin-twin Transfusion Syndrome” January 16, 1998. Houston,
TX.

Columbia Kingwood Hospital “Diabetes Mellitus/Shoulder Dystocia” January 19, 1998, Kingwood, TX.

Columbia Woman’s Hospital: “Diabetes Mellitus/Shoulder Dystocia” March 16, 1998, Kingwood, TX.

Columbia Kingwood Hospital: “Risk Management Issues in Obstetrics” April 6, 1998, Houston, TX

Columbia Kingwood Hospital: “Asthma in Pregnancy”, July 20, 1998, Kingwood, TX

Advance Med Education: “Management of OB patient with U/S”, September 26,1998. Kingwood, TX.

Columbia Kingwood Hospital: “Obstetrical Ultrasound” October 26, 1998, Kingwood, TX

“Vaginal Delivery after Cesarean Section – Maternal Neonatal Outcomes.”         Texas Children’s Hospital,
December 8, 1998. Houston, TX

Columbia Kingwood Hospital, Monday February 8, 1999, Kingwood, TX

“Multigestations” Ben Taub Hospital, February 18, 1999, Kingwood, TX.

“Antenatal Fetal Assessment.” Adams Mark Hotel, April 28, 1999, Houston, TX

“Woman’s Hypertension in Pregnancy” June 18, 1999, Houston, TX

Columbia Kingwood, August 9, 1999, Kingwood, TX

“Tea for Thyroid” The Thyroid Society for Education and Research. January 23, 2000.

“Preterm Labor”, Indiana School of Medicine, Grand Rounds. May 17, 2000. IN.

“Medical/Legal Implications of Hospital Charting”, Surgery Grand Rounds Woman’s Hospital, September 22,
2000, Houston, TX.

“Management of Multiple Birth Pregnancies.” Women’s Services at Kingwood Medical Center. September 25,
2000. Kingwood, TX.

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“When the Red Goes Down the Drain: Etiology of Bleeding in Pregnancy”. Twenty-fourth Baylor Perinatal
Outreach Nursing Symposium. October 27, 2000, Houston, TX.

“Outpatient Implications of Diabetes Mellitus and Pregnancy Induced Hypertension” Harris County Health
Department, Nursing Symposium, April 20,2001. Houston, TX.

“Heart to Heart”, Texas Heart Institute, May 12, 2001, Houston, TX.

“Obstetrical Use of Ultrasound”, Baylor College of Medicine, Depart of Neonatoloby, August 22, 2001,
Houston, TX

Preceptorship/Out-of-State rotations. Midwestern University, July 29, 2002 to August 23, 2002. Glendale, AZ.

“Ultrasound Evaluation and Management of Rh Disease”, Baylor College of Medicine, Perinatal Center
Conference, October 4, 2002, Houston, TX

“Pregnancy Induced Hypertension and Preterm Labor”, Baylor College of Medicine, August 7, 2002, Houston,
TX.

“Perinatal Ultrasound and Diagnosis”, Baylor College of Medicine, Neonatology Conference, September 5,
2002, Houston, TX.

“Effects of Pregnancy on Maternal Cardiac Disease”, Baylor College of Medicine Perinatal Outreach Program,
26th Annual Symposium, October 25, 2002, Houston, TX.

“Shoulder Dystocia”, Baylor College of Medicine Perinatal Outreach Programs, 27th Annual Nursing
Symposium, October 24, 2003, Houston, TX.

“Discussant Department of Obstetrics & Gynecology”, Baylor College of Medicine, Residents Day, May, 2004
Houston, TX.

“Interface Between Medicine and the Law”, Baylor College of Medicine, Perinatal Center Conference,
November 5, 2004, Houston, TX.

“Legal and Ethical Implications of the Very Premature Infant.” March of Dimes, 10th Annual Visiting
Professorship in Nursing. Memorial Hermann Hospital, May 10-11, 2005, Houston, TX.
“Medical Emergencies in Women and Children”, Via Christi Regional Medical Center, June 25, 2005, Wichita,
KS.

“Electronic Fetal Monitoring”, Baylor College of Medicine, Physiology Conference, June 22, 2005, Houston,
TX.

“Texas Advances Directives Act and Futility”, Baylor College of Medicine, Introduction to Clinical Medical
Ethics, August 31, 2005, Houston, TX.

“Medico-Legal Aspects of Perinatal Asphyxia”, Baylor College of Medicine, Physiology Conference,
September 14, 2005, Houston, TX.

“Legal Pitfalls in the Intrapartum Record”, “Chain of Command: A Bulldog Waiting to Bite You”, Twenty-
Ninth Annual Nursing Symposium, Baylor Perinatal Outreach Program, October 28, 2005, Houston, TX.

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“Discussant: Department of Obstetrics & Gynecology”, Baylor College of Medicine, Residents Day, May 12,
2006, Houston, TX.

“Twin-Twin Transfusion Syndrome” Perinatal Center Conference, Texas Children’s Hospital, August 8, 2006,
Houston, TX.

“Twin-Twin Transfusion Syndrome”, The Woman’s Hospital of TX, OB Grand Rounds, August 15, 2006,
Houston, TX.

“Intrahepatic Cholestasis of Pregnancy”, The Woman’s Hospital of TX, Medicine Grand Rounds, June13, 2008.

“Diseases of the Liver, Biliary system, Pancreas & GI tract in Pregnancy, Houston, TX, February 10, 2010

“Shoulder Dystocia – A Mock Trial”; Kenneth Moise, M.D., Karen Moise, R.N., Susan Raine, M.D., Robert J.
Carpenter, Jr., M.D.; Houston, TX, June 2, 2010.

“Diagnosis & Management of Gestational Diabetes Mellitus”, Texas Heart Institute, 9th Annual St. Luke’s
Episcopal Hospital Diabetes Symposium: Diabetes for Primary Care in 2013, September 14, 2013

“Timing of Delivery: Management of Twins, Di-Chorionic and Mono-Chorionic Gestations”, Multifetal
Pregnancies: a Multidisciplinary Update May 11, 2013, Brown Foundation Institute of Molecular Medicine for
the Prevention of Human Diseases, Houston, TX

MEETINGS ATTENDED (1994 – Present)
Annual Meeting of the Society of Perinatal Obstetricians. January 25-30, 1994. Las Vegas, NV

St. Luke’s Episcopal Hospital CME Conference. “An Approach to Achiness: Update on Rheumatic Diseases.”
March 12, 1994, Houston, TX

Fetoscopy Study Group, September 23 - September 26, 1994, Quebec, Canada.

Annual Meeting Central Association of Obstetricians and Gynecologists, October 13-15, 1994, Memphis, TN
Texas Children’s Hospital - Pediatric Division. “Ultrasound Diagnosis of Triploidy.” November 1994,
Houston, TX
Annual Meeting of the Society of Perinatal Obstetricians. January 25-29, 1995. Atlanta, GA.
International Fetal Medicine & Surgery Society Meeting. May 3-7, 1995. Newport, RI
Third Annual Meeting of the OB/GYN Association of Costa Rica. June 7-9, 1995. Costa Rica.
Fetoscopy Study Group. August 27-29, 1995. Copenhagen, Denmark.
Annual Meeting of the Central Association of Obstetricians and Gynecologists. October 18-21, 1995. Desert
Palms, CA.
Nineteenth Annual Houston Perinatal Nursing Symposium. October 27, 1995. Houston, TX
Annual Meeting of the Society of Perinatal Obstetricians. February 3-11, 1996. Kamuela, HI
International Fetal Medicine and Surgery Society. May 15-18, 1996. Italy.

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Fetoscopy Study Group. September 5-7, 1996. Birmingham, England.
Twentieth Annual Houston Perinatal Nursing Symposium. October, 1996. Houston, TX
Annual Meeting of the Central Association of Obstetricians/Gynecologists, October 17-19, 1996. Houston, TX
13th Biennial Conference on Diseases of the Vulva and Vagina. January 16-18, 1997. Houston, TX
Annual Meeting of the Society of Perinatal Obstetricians. January 23 - 24, 1997. CA
4th International Working Group on Gestational Diabetes, March 14-16, 1997. Chicago, IL
Protease Inhibitors in HIV Infections, March 25, 1997. Houston, TX
Current Trends in Hormone Replacement Therapy, June 14, 1997. Houston, TX
Fetoscopy Study Group. September 7-15, 1997. Athens, Greece.
Twenty First Annual Houston Perinatal Nursing Symposium. October, 1997. Houston, TX
Annual Meeting of the Central Association of Obstetricians/Gynecologists, October 29-31, 1997. Phoenix, AZ
Annual Meeting of the Society of Perinatal Obstetricians. February 4 - 7, 1998. Miami, FL
Annual Meeting of the International Fetal Medicine and Surgery Society. May 5-15, 1998. Australia
Fetoscopy Study Group; September 4-6,1998, Santa Fe, NM
Annual Meeting Central Association of Ob/Gyn; October 15-18, 1998; Kansas City, KS
Twenty-Second Annual Houston Perinatal Symposium, October 30, 1998; Houston, TX
Annual Meeting of the Society for Maternal-Fetal Medicine, January19-23, 1999, San Francisco, CA
International Fetal Medicine and Surgery Society, May 17, 1999-May 31, 1999, Scotland
Society of Perinatal Obstetricians, February 1-5, 2000, Miami, FL
Insulin Pump Therapy and Glucose Sensing Symposium, April 7, 2000. Houston, TX
International Fetal Medicine and Surgery Society Meeting, September 11-15, 2000, Nantucket
Fetoscopy Study Group Meeting, October 10-16, 2000, Munich
Central Association of Obstetricians and Gynecologists, October 18-20, 2000, Chicago, IL
“Preterm Labor Management”, Kingwood Medical Center, October 30, 2000, Kingwood, TX
Society for Maternal Fetal Medicine Annual Meeting, February 5-9, 2001, Reno, NV
Diabetes Symposium at The Houstonian, May 18, 2001, Houston, TX
Asthma & Risk Management Symposium, OMNI Hotel, May 19, 2001, Houston, TX
Houston Gynecological & Obstetrical Society Meeting. “Controversies in HRT & ERT”, May 29, 2001,
Houston, TX
Texas Medical Association Annual Continued Medical Education (CME), June 21-22, 2001, Dallas, TX.

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International Fetal Medicine and Surgery Society Meeting. September 21-28, 2001. Africa
Houston Gynecological & Obstetrical Society Meeting. “Medical Ethics in Obstetrics & Gynecology”, October
30, 2001, Houston, TX
Prenatal Nursing Symposium, “Celebrating Perinatal Nursing”, Baylor College of Medicine, November 2,
2001, Houston, TX
Fetoscopy study Group Meeting, November 7-10, 2001, Puerto Rico
Continuing Medical Education, “Weapons of Mass Destruction and Bioterrorism: What You Must Know., St.
Luke’s Episcopal Hospital, December 8, 2001, Houston, TX
Society for Maternal Fetal Medicine Annual Meeting, January 15-19, 2002, New Orleans, LA
International Study Group, To determine the association of fetal nasal bone abnormalities and the possibility of
diagnoses of trisomy 21 in the third trimester. University of Toronto School of Medicine, February 1, 2002,
Toronto Canada
Houston Gynecological & Obstetrical Society, “Postpartum Depression”, March 19, 2002, Houston, TX
Risk Management Class, Baylor College of Medicine, April 9, 2002, Houston, TX
Baylor College of Medicine, Residents Day, “Retrospective Analysis of Glyburide Use in Gestational Diabetes,
Discussant for Jennifer Breazeale, M.D., May 31, 2002, Houston, TX
Texas Woman’s Hospital of Texas, “Umbilical Cord Stem Cell”, Kurt Gunter, M.D., July 19, 2002, Houston,
TX
Houston Gynecological & Obstetrical Society, August 20, 2002, Houston, TX
Society for Maternal Fetal Medicine Annual Meeting, February 3-8, 2002, San Francisco, CA
Texas Children’s Hospital, “Ethics of Physician”, September 16, 2002, Houston, TX
University of Wisconsin Medical School. “Postmenopausal Cardiovascular Health & Diabetes”, April 9, 2003,
Houston, TX
Society for Maternal-Fetal Medicine, 24th Scientific Meeting, February 5-7, 2004, New Orleans, LA
“New Guidelines for Cervical Cancer Screening & HPV Testing”, Houston Gynecological & Obstetrical
Society, March 23, 2004, Houston, TX.
“Treating Difficult Patients – Techniques and Strategies to Reduce Risk. Texas Medical Liability Trust, April
07, 2004, Houston, TX.

Twenty-eighth Annual Nursing Symposium, Baylor College of Medicine, Perinatal Outreach Program, October
29, 2004, Houston, TX.

“Ethics of Sex Selection”, Seminars in Women’s Health, Baylor College of Medicine, Department of Obstetrics
and Gynecology, Laurence McCullough, Ph.D., December 16, 2004, Houston, TX.

March of Dimes, 10th Annual Visiting Professorship in Nursing. Memorial Hermann Hospital, May 10-11,
2005, Houston, TX.


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“Medical Emergencies in Women & Children”, Via Christi Regional Medical Center, June 25, 2005, Wichita,
KS.

“Recent Developments in Ethics”. St. Luke’s Episcopal Hospital, Ethics Conference, Texas Children’s
Hospital, September 13, 2005, Houston, TX.

Annual Meeting of the Central Association of Obstetricians and Gynecologists, Camelback Inn Resort, October
19-22, 2005, Scottsdale, AZ,

Houston’s Third Annual Conference. “An Ethical Post-Mortem on the Terri Schiavo Case”, Rabbi Akiva Tatz,
M.D., Laurence B. McCullough, Ph.D.. Thursday, March 2, 2006, Houston, TX.

Health Subcommittee Meeting, House of Representatives, Texas,– “Consideration of change in HSC 166.046 –
with specificity to 10 day notice” Austin, Texas, August 09, 2006

2nd Annual Diabetes Symposium for Primary Care Providers, “Prevention, Detection and Management of
Diabetic Complications” Houston, TX, September 30, 2006

Annual Meeting of The Central Association of Obstetrics & Gynecology, Las Vegas, NV. October 18-20, 2006.

30th Annual Nursing Symposium, Baylor College of Medicine, Perinatal Outreach Program. Houston, TX.
October 27, 2006.

Netlearn Baylor College of Medicine, The Medical Center, A0203C1.1 HIPAA 101: An Introduction;
C0203C3.1 Security Fundamentals; B0203C2 Code of Conduct; F080556 Acceptable Use Policy; Blood Borne
Pathogens; Security Department Orientation Program; Employee Relations Training-NEO. November 19,
2006, Houston, TX. 1.00 CEUS and 4.00 credit hours.

Annual Meeting of the Society of Maternal Fetal Medicine, San Francisco, CA. February 5-10, 2007.

International Fetal Medicine Surgery Society Meeting, Aruba, April 30-May 2, 2007.

Fetoscopy Surgery Meeting, Mexico City, October 4-5, 2007.

Annual Meeting of the Central Association of Obstetricians and Gynecologists, Chicago, IL, October 17, 2007

Annual Meeting of the Maternal Fetal Medicine Society, Dallas, TX, January 29th – February 2nd, 2008.

Annual Fetoscopy Surgery Meeting, Argentina, September 24-27, 2008.

Annual Meeting of the Central Association of Obstetricians and Gynecologists, New Orleans, October 22-24,
2008.

Texas Medical Liability Trust, Health Care Rock ‘N’ Roll: Medicine in Transition”, Houston, TX, October 30,
2008.

Annual Meeting of the Society of Maternal Fetal Medicine, San Diego, CA, January 28-31, 2009

Annual Fetoscopy Surgery Meeting, Italy, October 6-10, 2009.

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Annual Meeting of the Society of Maternal Fetal Medicine, Chicago, IL, February 3-5, 2010

HCHD Medical Staff Retreat & Educational Update, Houston, TX; June 05, 2010.

30th Annual International Fetal Medicine and Surgery Society Meeting, Sedona, AZ, May 13-18, 2011

The 78th Annual Meeting, Central Association of Obstetricians and Gynecologists, Nassau, Bahamas, October
26, 2011

Multifetal Pregnancies: A Multidisciplinary Update, Houston, TX, May 11, 2013

Cyber Liability, HIPAA, HITECH, HB300 and HIE: What Does All this Mean to Me?, Houston, TX, May 22,
2013

Reimbursement & Revenue: New Possibilities, New Pitfalls, Houston, TX, August 3, 2013

The 80th Annual Meeting, Central Association of Obstetricians and Gynecologists, Napa, CA, October 17, 2013

The Center for Medical Ethics and Health Policy Annual Center Retreat, May 22, 2015

The 82nd Annual Meeting, Central Association of Obstetricians and Gynecologists, Charleston, SC, October 21,
2015

Baylor College of Medicine General Compliance Training, December 18, 2015

SMFM’s 36th Annual Pregnancy Meeting, February 4-6, 2016, Hilton Atlanta, Atlanta, GA

Reimbursement Under MACRA: Value based purchasing and your practice, Houston, TX, April 22, 2017

Expanding the Healthcare Workforce: Working with APRNs and Pas 2018 & Beyond, Houston, TX October 3,
2018

The 84th Annual Meeting, Central Association of Obstetrics and Gynecologists, Scottsdale, AZ, October 18,
2017

Annual Medical Staff Meeting, In Pursuit of Professionalism and a Culture of Safety and Respect, January 9,
2018

St. Luke’s Independent Practice Association 26th Annual Meeting of the Members, February 27, 2018

The 85th Annual Meeting, Central Association of Obstetricians & Gynecologist, Minneapolis, MN, October 18,
2018

SMFM 39th Annual Pregnancy Meeting, Caesar’s Palace, Las Vegas, NV, February 11-16, 2019

The Houston Gynecological & Obstetrical Society (HGOS), September General Meeting, “Maternal and
Perinatal Risks of IVF”, Houston, TX, September 17, 2019

Central Association of Obstetricians and Gynecologists, “Changing the Face of Women’s Health”, The Pyramid
at the Oasis Resort, Cancun, Mexico, October 16-19, 2019
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1                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
2                              DALLAS DIVISION
3     IRENE RODRIGUEZ,                     )
      individually and as parent           )
4     and legal guardian of                )
      A.R., and Maria Antonio              )
5     Santos as representative             )
      of the estate of B.R.,               )
6                       Plaintiffs,        ) CIVIL ACTION
                                           )
7     VS.                                  ) NO.: 3:20-CV-00045-D
                                           )
8     SOUTHERN HEALTH PARTNERS,            )
      INC., LINDA HULLETT, and             )
9     DR. GRADY SHAW,                      )
                        Defendants.        )
10                      -----------------------------------
11                       ORAL AND VIDEOTAPED DEPOSITION OF
12                          ROBERT J. CARPENTER, JR., MD
13                                JUNE 20, 2022
14                            (REPORTED REMOTELY)
                        -----------------------------------
15          ORAL AND VIDEOTAPED DEPOSITION OF ROBERT J.
16    CARPENTER, JR., MD, produced as a witness at the
17    instance of the Defendants, and duly sworn, was taken in
18    the above-styled and numbered cause on June 20, 2022,
19    from 10:12 a.m. to 3:49 p.m., before Julie G. Davault,
20    CSR in and for the State of Texas, reported by machine
21    shorthand, at 6624 Fannin Street, Houston, Texas,
22    pursuant to the Federal Rules of Civil Procedure, the
23    Texas Supreme Court Orders Regarding Covid, and the
24    provisions stated on the record or attached hereto.
25    Job No. 5282981

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1     that those ultrasounds were read by an obstetrician, or

2     a maternal fetal medicine person.              There was an

3     ultrasound on November 29th of both of the fetuses at

4     the OB clinic there in Navarro County.                 And I think the

5     obstetrician herself looked at those, but I don't recall

6     who signed it out.       If it was a radiologist, then I will

7     accept that a radiologist read that.                 But many times the

8     obstetrician will look at that because they have the

9     appropriate training and education to do so with respect

10    to normal scans.

11          Q.   Did you look at any original ultrasounds, or

12    other films in this case?

13          A.   No.     The only things that were available are

14    the written documents.

15          Q.   Okay.

16          A.   I'm sorry.     I wasn't responsive, and I

17    apologize.       You asked a clear question, and I did not

18    answer that.

19          Q.   It's fine.     That's my job to follow up and make

20    sure that I -- that I ask the right thing and heard the

21    right answer, so no apology is needed.

22                       Are you the supervisor for the nurses at

23    any of the medical facilities in which you work?

24          A.   If you're talking about direct supervisor, the

25    answer is no.       If you're talking about directly related

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1     in nursing quality of care, the answer is I have been in

2     various situations over the course of the last 40-plus

3     years, but not supervisor in the normal sense that

4     you're using the word "supervisor."                 That would normally

5     be a nurse, and a nurse administrator who would be

6     responsible for the various aspects of nursing care,

7     too.    But in training nurses, and supervising them, and

8     educating them when things aren't done perhaps the way

9     they should be, yes, I've done that for all of my life.

10           Q.   And that's in your capacity not necessarily as

11    their direct supervisor, but in working alongside them;

12    is that fair to say?

13           A.   Yes, ma'am, it is.

14           Q.   Do you know the difference between the scopes

15    of practice of an RN and an LPN?

16           A.   Oh, massive difference.         There are some LVNs

17    who are exceedingly good, and they do a single area of

18    practice.     There are some who -- like we talk about a

19    general medical officer, or a general practitioner,

20    whatever they're assigned, they go do, but they do not

21    have in-depth knowledge of that particular area.

22    Nursing, by the nature of an RN, she has had, in most

23    cases now, a BSN, and so that she has had a full three

24    or four-year degree program, has then taken her

25    licensure examinations to receive her RN, and then many

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 1    Ms. Rodriguez's other pregnancies to determine what she

 2    considered to be two mucus plugs, that's right?

 3           A.   I -- as you asked earlier today, I have

 4    reviewed no records for any prior pregnancy, and that

 5    would address that issue as well.

 6           Q.   Rather than going by your report, Exhibit 2,

 7    page-by-page, I think it may speed things up if I give

 8    you the opportunity to tell me at this point what are

 9    your opinions as to how both Dr. Shaw and Nurse Hullett

10    breached the standard of care with regard to treatment

11    of Ms. Rodriguez at the jail, and how you believe that

12    affected her outcome.

13           A.   With Hullett, she failed to communicate

14    important information to Dr. Shaw.               He affirmed that in

15    his deposition multiple places, multiple circumstances.

16    He was also surprised in her comments about different

17    things, which as I mentioned earlier show a substantial

18    lack of medical information and medical judgment.

19                      One of the major ones I've already

20    addressed, and that is her belief that a patient with

21    twins was no greater risk than a patient with singleton.

22    That is a critical error because if you program your

23    brain that this person really has no greater problem

24    possibility compared to anybody else who is pregnant,

25    you don't see the proverbial forest for the trees.

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 1                      The other thing that I have to do is I have

 2    to take the comments of Ms. Rodriguez where she

 3    indicates that, repetitively, on mornings when the med

 4    checks and med passes that she told Hullett that she was

 5    having contractions.        So there were multiple times

 6    outside of the very limited medical records, and the

 7    late note keeping that we have in this circumstance,

 8    that Hullett was forearmed with the information

 9    concerning contractions.          This data is also presented in

10    the context of the sergeant, on the day of delivery,

11    indicating that there was knowledge amongst the various

12    jail staff that Ms. Rodriguez had been complaining of

13    contractions.      Ms. Hullett did nothing about that.                 She

14    should have informed Dr. Shaw.             She should have had that

15    note on the chart so that it would have served as having

16    Dr. Cook's statement up front that if she has any other

17    problems she needs to be sent to the hospital.                   The

18    second nurse who saw her on the evening of January 2nd

19    had no such forewarning.          For all she knew this was the

20    first time that this really had happened because there

21    was no note.

22                      I've already indicated that I have no idea

23    when the appointment was scheduled.                   Well, the order was

24    written on the 27th.        She should have made sure, since

25    she was the lead nurse in this unit, that an ASAP

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 1    appointment was, in fact, acquired when two weeks down

 2    the road for a patient who has a set of twins, who was

 3    having contractions, who has passed their mucus plug,

 4    putting all of that data together, and had some bleeding

 5    with that event, those are a forewarning that should

 6    have been acted upon.        And Nurse Hullett did not have

 7    the medical judgment or capability to recognize that and

 8    to do what needed to be done, which was, at minimum,

 9    communicate with Dr. Shaw about this.                 And, again, from

10    Dr. Shaw's deposition, he would wish to have known that

11    information.      Communication, evaluation, assessment is a

12    critical issue with Nurse Hullett.

13                      Dr. Shaw I have less problems with after

14    his deposition.       I think that he should have maintained

15    Ms. Rodriguez in his mind as a patient with twins in the

16    hos -- in the jail, and just asked open -- any problems

17    with that pregnant patient, anything ongoing.                 Perhaps a

18    simple question like that may have made Nurse Hullett

19    respond in an affirmative manner.

20                      But he is responsible for the overall

21    circumstances of the jail.           He may not be assigned as

22    the lead, quote, nurse person, but he's responsible for

23    the people under his supervision.               And it should have

24    been, and I don't know what their normal means of

25    communication were, communication usually gets you in

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 1    trouble in medicine.        Failure to communicate most

 2    commonly.     And this is a com -- this is a classic

 3    situation of failure to communicate, failure to

 4    evaluate.     I'll stop there with Dr. Shaw because I don't

 5    really have very much other information adverse to him,

 6    other than supervision, and asking the question, how is

 7    that young lady, Ms. Rodriguez.              He was clear in his

 8    deposition that he wanted to be informed.                   He wasn't

 9    informed, but the structure and process with Nurse

10    Hullett as the -- one of the primary gatekeepers kept

11    that from happening.        I'll stop there.

12           Q.   I want to make sure you completed your opinion

13    is that --

14           A.   I said, I will stop there.

15           Q.   Is that your complete opinion?

16           A.   Yes, ma'am.

17           Q.   Okay.     You said at the end, a failure to

18    evaluate.     Is it your opinion that Dr. Shaw should have

19    had another evaluation of Ms. Rodriguez on a certain

20    date that he failed to see her on?

21           A.   No.     The failure to evaluate is that of

22    Hullett.     And failure to get her evaluated, that's

23    probably a better way of saying it.                   If that happened to

24    be because she talked with Dr. Shaw and told him, and

25    then he evaluated her again, and with high probability

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 1           That the amount of time used by each party at the
 2    deposition is as follows:
 3    Don Tittle, Esq......00 HOUR(S):00 MINUTE(S)
      Jo Beth Drake, Esq......04 HOUR(S):56 MINUTE(S)
 4           That pursuant to information given to the
 5    deposition officer at the time said testimony was taken,
 6    the following includes counsel for all parties of
 7    record:
 8    FOR THE PLAINTIFFS:
             Don Tittle, Esq. (Remote-Durango, CO)
 9           LAW OFFICES OF DON TITTLE
             8350 N. Central Expressway
10           Suite M1085
             Dallas, Texas 75206
11           (214) 680-9578
             don@dontittlelaw.com
12
      FOR THE DEFENDANTS:
13           Jo Beth Drake, Esq. (Remote-Flower Mound, TX)
             QUINTAIROS, PRIETO, WOOD & BOYER, P.A.
14           1700 Pacific Avenue
             Suite 4545
15           Dallas, Texas 75201
             (214) 754-8755
16           jobeth.drake@qpwblaw.com
17           That $__________ is the deposition officer's
18    charges to the Defendants for preparing the original
19    deposition transcript and any copies of exhibits;
20           I further certify that I am neither counsel for,
21    related to, nor employed by any of the parties or
22    attorneys in the action in which this proceeding was
23    taken, and further that I am not financially or
24    otherwise interested in the outcome of the action.
25

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 1           Certified to by me this 30th day of June, 2022.
 2
 3                                         <%12552,Signature%>
                               ____________________________
 4                             Julie G. Davault, CSR, No. 2092
                               Expiration Date:             8/31/23
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                           IN THE UNITED STATHS DISTRICT COURT
                               NORTHHRN DISTRICT OF TEXAS
                                     'DALLAS DIVISION

 IRENE RODRIGUEZ, individually and
 as parent and legal guardian of A.R.,
 and MARIA ANTONIA SANTOS as
 representative of the estate of B.R.,

           Plaintiff:;s,

 V,                                                   CIVIL ACTION NO. 3 :20-cv-00045-D

 SOUTHERN HEALTH PARTNERS, INC.
 LINDA HULLETT, and
 DR. GRADY SHAW,

           Dofendants.




                           DECLARATION OF DR. DONALD MEYN


           I, Dr. Donald Meyn, pursuant to 28 U.S.C. § 1746, declare as follows:

      1.        I am licensed to practice medicine in the state of Louisiana, I am a Diplomate
              of the American Board of Pediatrics in both General Pediatrics and Neonatal-
              Perinatal Medicine, and I am a Fellow of the American College of Pediatrics. I
              completed residency at the University of Alabama at Birmingham in 2006 and a
              fellowship in Neonatology also at the University of Alabama at Birmingham in
              2009. I am Board Certified in Pediatrics and Sub-Board Certified in Neonatal-
              Perinatal Medicine. I have been in full time practice as a Neonatologist since
              2009 with Infamedics. My current practice includes inpatient care of infants at a
              Level 3 Surgical Neonatal Intensive Care Unit which admits approximately 1500
              patients and 140 very low birth weight infants yearly. I am a member of the
              active medical staff of 3 Baton Rouge area hospitals: Woman's Hospital, Baton
              Rouge General Medical Center, and Ochsner Medical Center Baton Rouge. My
              Curriculum Vitae is attached as an exhibit to the brief of plaintiffs' Response to
              Defendants' Motion for Summary Judgment with further details on my
              experience and qualifications.




      DECLARATION OF DR. DONALD MEYN




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   2.    My opinions in this case are outlined in my report, which is incorporated in full
         herein and attached as an exhibit to the brief of Plaintiffs' Response to
         Defendants' Motion for Summary Judgment.

    3.    I have reviewed the National Commission on Correctional Health Care's
         standards regarding "Counseling and Care of the Pregnant Inmate," as published
         in the 2018 edition of their Standards for Health Services in Jails. These
         standards are attached as an exhibit to the brief of Plaintiffs' Response to
         Defendants' Motion for Summary Judgment.

   4.     The NCCHC standards regarding the care of pregnant inmates consist of only
         three pages. The standards provide suggested policies to be implemented by the
         administration of a correctional facility. Overall, they are very general in nature,
         and in no way supplant or replace the ordinary standard of care with respect to
         the manner in which medical providers are to respond or act in a given situation.

    5.   In fact, elements of the ordinary standard of care are incoaporated into the
         NCCHC standards in obvious ways.          For example, the standards state,
         "obstetrical emergencies such as hemorrhage, eclamptic seizures, and preterm
         labor can arise at any point in pregnancy. Such emergencies require immediate
         medical intervention and/or movement of the woman." They also state,
         "Pregnant women who report bleeding or symptoms of labor such as pain or
         leaking fluid should be immediately evaluated by a qualified health care
         professional; when an appropriately trained health professional is not on-site,
         there should be consultation with or transportation to the hospital." These are
         simply restatements of obvious elements of the ordinary standard of care,
         described in terms of the policies a facility should have in place to ensure it
         complies with that ordinary standard of care. This is clear from the plain text of
         the standards, combined with my knowledge of the ordinary standard of medical
         care for pregnant women and childbirth.

   6.     Nothing about these standards suggest some kind of "lesser" standard of care
         that applies to correctional facilities. They only reiterate the fact that the
         ordinary standard of medical care applies in a correctional setting just as it does
         anywhere such care is being provided.

   7.     Dr. Grady shaw and Linda Hullett, as well as southern Health partners, took on
         Irene Rodriguez as a patient when they took on the obligation to provide her
         medical care while she was in the Navarro County Jail. Thus, they are subject
         to the same standard of care as any medical provider is subject to regarding the
         care provided to their patients.

   8.     Linda Hullett's failure to follow physician's orders, failure to arrange timely
         transportation to a hospital or evaluation by an appropriately trained specialist

    DECLARATION OF DR. DONALD MEYN                                                         2




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              when it was necessary, failure to maintain accurate and timely records, failure to
              recognize that Irene Rodriguez's medical needs exceeded her own expertise and
              training, and, ultimately, failure to take all reasonable measures to ensure the
              twins were born in an appropriate environment are universal and would be
              breaches of the standard of care in any context.

              Moreover, my opinions on medical causation are purely scientific in nature and
              therefore wholly independent of the setting in which the medical issues or
              treatment occur.

     10.      I am familiar with the standard of care for nurses because I have extensive
              experience with standard nursing practices in the field of labor and delivery,
              pediatrics and neonatology.

     11.       As aphysicianwho has practiced foryears alongside nurses, my own obligations
              as a medical practitioner require me to know the limits of what a nurse is
              qualified and trained to do, and where the medical care in question requires
              participation by a physician or other higher-level practitioner.

     12.       The same experience has provided me with extensive knowledge as to how a
              nurse must conduct herself (for instance, regarding following physician' s orders,
              communicating critical information, maintaining accurate and timely
              documentation, and responding appropriately to emergencies) so that I may, in
              turn, effectively provide medical care. As such, I have directed nurses on how
              to perform their responsibilities throughout my career.

     13.       Although the fact that Irene Rodriguez was incarcerated may have presented
              additional logistical considerations in arranging for her medical care, any such
              considerations must be accommodated in such a way as to allow the medical
              care provided to Ms. Rodriguez to conform to the ordinary standard of care for
              medical providers.

           I, Dr. Donald Meyn, declare under penalty of perjury that the foregoing is true and

 correct.


           Executedon     C'G                   in East Baton Rouge Parish, Louisiana.
                                DATE




     DECLARATION OF DR. DONALD MEYN                                                          3




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Donald F. Meyn Jr., MD, FAAP



June 19, 2020


Don Tittle, JD

6301 Gaston Avenue, Suite 440
Dallas, Texas 75214


Mr, Tittle,


You have asked me to review various records regarding the medical care provided to Ms. Irene
Rodriguez and her twin children Analeyah Rodriguez and Benjamin Rodriguez and share my
opinion regarding the quality of that care with you in the form of an expert report . As such,
this report is tendered with the intent to clearly provide a fair summary of my opinion as of the
date of the report regarding applicable standard of care, the manner in which the care
rendered failed to meet that standard, and the relationship between that failure and the
resultant harm.


All of the opinions expressed in this report are based on my review of records and the other
documents listed below, and I reserve the right to amend these opinions in the event that
additional records or information is forthcoming. The opinions and conclusions herein are
made to a standard of ``reasonable degree of medical probability" unless otherwise indicated.




Qualifications


I am qualified by education, training and experience to opine the standard of care and
causation issues in this case. I have attached a copy of my Curriculum Vitae for your review and
it should be included by reference herein. I am licensed to practice medicine in the State of
Louisiana,I am a Diplomate of the American Board of Pediatrics in both General Pediatrics and
Neonatal-Perinatal Medicine, and I am a Fellow of the American College of Pediatrics. I
completed residency at the University of Alabama at Birmingham in 2006 and a fellowship in
Neonatology also at the University of Alabama at Birmingham in 2009. I am Board Certified in
Pediatrics and Sub-Board Certified in Neonatal-Perinatal Medicine.

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 I have been in full time practice as a Neonatologist since 2009 with lnfamedics. My current

practice includes inpatient care of infants at a Level 3 Surgical Neonatal Intensive Care Unit
which admits approximately 1500 patients and 140 very low birth weight infants yearly. I am a
member of the active medical staff of 3 Baton Rouge area hospitals: Woman's Hospital, Baton
Rouge General Medical Center, and Ochsner Medical Center Baton Rouge. I am also an active

participant in quality improvement initiatives organized through the Vermont Oxford Network
with recent projects directly related to management of micropremature infants at the time of
delivery.




Materials reviewed


ln preparation of this report,I have reviewed medical records for Ms. Irene Rodriguez from
Southern Health Partners and Navarro Regional Hospital. I have also reviewed medical records
for her twin children Analeyah and Benjamin Rodriguez from Corsicana Fire Rescue, Navarro
Regional Hospital, Baylor University Medical Center Dallas, TX, and Children's Medical Center

Dallas TX. Finally, I have reviewed the First Amended Complaint. This information is that which
is routinely and reasonably relied upon by experts in forming opinions regarding the issues at
hand.




Background


Infants born preterm require special measures at delivery and are at risk for complications not
seen in their term-born counterparts. The Textbook of Neonatal Resuscitation notes that ``The
likelihood that a preterm newborn will need help making the transition to extrauterine life is
related to gestational age" and that ``babies born at lower gestational ages are more likely to
require additional interventions." (1) Preterm infants have a higher risk of complications
including a limited metabolic response to cold; rapid heat loss; weak chest muscles decreasing
the efficiency of spontaneous breathing effort; immature lungs; and immature blood vessels in
the brain that cannot adjust to rapid changes in blood flow which may cause damage from
bleeding or insufficient blood supply. (1) Infants born at term often begin to breathe
spontaneously and require only contact with their mother's body to maintain a normal body
temperature. Very low birth-weight infants (VLBW), those premature infants born weighing




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less than 1500 grams, frequently require assistance breathing immediately following delivery
and require special measures to maintain body heat including placement under a radiant heat
warmer, use of thermal mattresses and wrapping the body with polyethylene plastic wrap to
limit heat loss. (1)


There are many complications faced by preterm infants not seen in those born at term. Among
these complications are germinal matrix-intraventricular hemorrhage (IVH) and periventricular
leukomalacia (PVL). IVH occurs due to hemorrhage in the subependymal germinal matrix
within the brain and extension of that hemorrhage into the lateral ventricles. (2) lvH is
classified into grades 1 through 4 with grade 3 and grade 4 hemorrhages considered to be
severe and much more likely to be associated with an adverse neurologic outcome including

post hemorrhagic hydrocephalus. (2) Hypothermia is a risk factor for the development of lvH.
The ideal neonatal body temperature is between 97.7F (36.5C) and 99.5F (37.5C). Studies have
shown higher odds of severe IVH with moderate hypothermia -temperature between 91.2F

(32.9C) and 96.6F (35.9C). (2)


Periventricular leukomalacia (PVL) is focal necrosis occurring in the periventricular white matter
of the preterm brain. (3) PVL can be defined as cystic or diffuse with cystic PVL being
characterized by focal cystic, necrotic lesions deep in the periventricular white matter generally
appearing 2-4 weeks after birth. (3) PVL is thought to arise from the effect of hypoxia, ischemia,
and inflammation on progenitor cells within the periventricular area of infants born 23 to 32
weeks. (3) Several maternal risk-factors are also associated with the development of PVL
including multiple gestation and lack of maternal antenatal steroids. An adverse outcome often
associated with PVL is cerebral palsy with spastic diplegia in milder cases and quadriplegia in
the most severe cases.


Out of hospital delivery of preterm infants is associated with adverse neonatal outcomes; it is
therefore of paramount importance that it is avoided. Preterm infants born from gestational
ages 22 to 31 weeks prior to arrival at a hospital have been shown to have increased rates of
stillbirth, death within 28 days of birth and death within the first year of life. (4) Additional data
has shown that for those infants delivered outside of a hospital or birthing center, multiparity,

prematurity, and hypothermia are associated with increased risk for neonatal morbidity and
mortality. (5)


There are clear perinatal interventions that when given to the expectant mother greatly reduce
the risk of both lvH and cerebral palsy in the preterm neonate. Guidelines for Perinatal Care




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    published by the American Academy of Pediatrics and American College of Obstetricians and
    Gynecologists recommend antenatal steroid administration to pregnant women between 24
    weeks and 34 weeks who are at risk of delivery within 7 days. (6) Antenatal steroid
    administration has been shown to decrease the risk of overall neonatal mortality and morbidity
    and to independently decrease the risk of lvH. (2) These guidelines also recommend
    administration of magnesium sulfate to the mother prior to expected preterm delivery as
    evidence suggests that this reduces the risk of cerebral palsy in the neonate. (6)


       (1) American Heart Association Textbook of Neonatal Resuscitation 7th Edition. American Academy
           of Pediatrics, 2016.
       (2) Lim J., E. Hagen. Reducing Germinal Matrix-lntraventricular Hemorrhage: Perinatal and Delivery
           Room Factors. NeoReviews 2019;29;e452-e463.
       (3) Bass, W.T. Periventricular Leukomalacia. NeoReviews 2011;12;e76-e84
       (4) Boland, R.A, et al. Very Preterm Birth Before Arrival at Hospital. Aust N Z J 0bstet Gynaecol.
           2018; 58:197-203.

       (5) Javaudin, F. et al. Unplanned Out-of-Hospital Birth and Risk Factors of Adverse Perinatal
           Outcome: Findings from a Prospective Cohort. Scand J Trauma Resusc Emerg Med. 2019; 27:26
       (6) Guidelines for Perinatal Care 7th ed. American Academy of Pediatrics and American College of
           Obstetricians and Gynecologists, 2012.




Summary of Events


Irene Rodriguez


Irene Rodriguez had received prenatal care at Olmsted Medical Center in Rochester, MN prior
to relocation to Corsicana, TX. After arrival in Corsicana and prior to her incarceration, she had
established prenatal care with Dr. Michelle Spears at Medical Associates of Navarro County.
Medical records provided by Navarro County Jail show that she was seen by Nurse Linda Hullett
and Dr. Grady Shaw prior to delivery. On December 27, 2017 Dr. Shaw examined Ms.
Rodriguez, and noted that she was pregnant with twins and had history of prior preterm
delivery. He also notes that she is having contractions, but incorrectly identifies them as false
contractions. He notes that a prenatal visit was scheduled for December 28, 2017. He states in
a physician's order that she should be taken to her Obstetrician as soon as possible. However,
there is no evidence in the record that this visit took place, and Ms. Rodriguez states in her
Complaint that it did not. Shaw further states that they must continue to monitor Ms.
Rodriguez. A notation by Hullett into the medical record dated December 29 at 1:54 PM states



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that Ms. Rodriguez complained of passing her mucous plug and of being in labor. Fetal heart
rates were documented within normal ranges and contractions were reported as sporadic.
Another note by Nurse Hullett dated for December 29 at 3:00 PM, documents a telephone
consultation with Dr. Charles Cook, an Obstetrician at Navarro Regional Hospital. Dr. Cook

advised transfer of Irene Rodriguez to the hospital if contractions continue.   A follow-up
examination on January 2, 2018 notes contractions every 2-4 minutes lasting 19-26 seconds.
No fetal monitoring is documented at this time. Jail records contain no evidence that its
medical staff took any action other than the provision of prenatal vitamins between January 2
and the birth of the twins on January 9. Records do not indicate that Ms. Rodriguez ever saw
an Obstetrician the entire time she was incarcerated. The Jail Incident Report of January 9,
2018 reported by Sgt. Robin Woodall notes that at 4:50 AM the morning of January 9, 2018
Irene Rodriguez began to have contractions approximately 3 minutes apart.       Sgt. Woodall
reports contacting Nurse Linda Hullett to advise her of the contractions. Nonetheless, no
ambulance was called. Sgt Woodall next reports that Irene Rodriguez's contractions were one
minute apart at 5:16 AM and that she advised Nurse Hullett of this change; Nurse Hullett still
did not authorize transport to a hospital at this time. At 5:27 AM, Woodall states that Ms.
Rodriguez felt delivery was imminent. Nurse Hullett was contacted again with this information
and at this time recommended contacting EMS. Rupture of membranes was reported at 5:28
AM and Baby Analeyah, twin A, delivered at 5:40 AM prior to the arrival of EMS. Baby
Benjamin, twin 8, delivered at 5:51 AM with EMS in attendance.


Analeyah Rodriguez


Analeyah Rodriguez is a female twin #1 born at 28 and 2/7 weeks gestation with birthweight of
1130 grams (2Ib 7.8oz) who delivered via spontaneous vaginal delivery at 5:28 AM on January
9, 2018. The delivery occurred at the Navarro County Jail and was attended by corrections
officers prior to the arrival of Emergency Medical Services (EMS). An incident report was filed
by Sgt. Robin Woodall describing the infant's delivery. The officers noted that the infant began
to cry and appeared to be breathing immediately following delivery but soon stopped breathing
and was resuscitated with ``rescue breaths" after which improvement was noted and the infant
was handed off to EMS. EMS notes the use of bag-mask ventilation and blow-by oxygen. The
EMS documentation noted a heart rate of 105 and a respiratory rate of 32 and that she was
crying with stimulation, cool to touch, and had "good capillary refill" with spontaneous
movement of the extremities. Apgar scores were not clearly evident in the EMS documentation;
however, Apgar scores of 1 at one minute and 5 at five minutes are noted after admission to




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Navarro Regional Hospital. She was transported quickly by EMS to Navarro Regional Hospital
where she arrived at 6:12 AM. Vital signs on admission at 6:20 AM show heart rate 120,
respiratory rate 32, oxygen saturation of 89%, and a rectal temperature noted as `'not reading".
She was placed onto a radiant warmer with warm blankets on arrival and her temperature and
oxygen saturation had improved at 6:30 AM but her heart rate had decreased to 90.
Vapotherm was then initiated to support her breathing and her heart rate improved to 120.
The attending physician, Dr. Thomas Sawyerr, MD was notified of the delivery at 6:20 AM and
arrived in the nursery at 6:45 AM. An lv was placed and intravenous fluid was started at 6:47
AM.    Positive pressure ventilation was initiated at 7:25 AM due to apnea and oxygen
saturations decreased to ``80's". Endotracheal intubation was attempted unsuccessfully at 7:50
AM and cardiopulmonary resuscitation (CPR) was started at 7:54 AM due to heart rate of less
than 60 and oxygen saturations less than 50%. The infant was intubated by a nurse anesthetist
at 8:03 AM and her condition began to improve with CPR discontinued at 8:04 AM. Baylor
University Medical Center (BUMC) reports that call for transport from Navarro Regional
Hospital was received at 6:45 AM and that the transport team arrived at 8:55 AM. The infant
was then secured for transport to BUMC where she arrived at 1:55 PM. On January 12, 2018, 3
days after birth, records at BUMC indicate a worsening clinical status, metabolic acidosis and
concern for posturing. A cranial ultrasound was done at that time showing a right grade 3 to 4
and left grade 1 intracranial hemorrhage.    A repeat cranial ultrasound on January 15, 2018
showed extension of the lvH to right grade 4 and left grade 2. Progress notes document a
concern for hydrocephalus due to splitting cranial sutures on January 28, 2018 and a follow-up
cranial ultrasound on January 31, 2018 showed markedly enlarged ventricles indicating the
diagnosis of post-hemorrhagic hydrocephalus. The infant was then transferred to Children's
Medical Center (CMC) in Dallas, TX for neurosurgical consult. While at CMC she underwent

placement of a ventricular reservoir with daily drainage to relieve the ongoing hydrocephalus.
The ventricular reservoir was converted to a permanent ventriculoperitoneal shunt on March
23, 2018. MRl scan of the infant's brain have shown significant volume loss in the right cerebral
hemisphere with multiple areas of cystic leukomalacia in the periventricular white matter
indicating cystic PVL. This loss of brain matter and cystic PVL have in turn caused cerebral palsy
with left sided hemiplegia, hydrocephalus, and developmental delay.


Benjamin Rodriguez


Benjamin Rodriguez is a male twin 8, born at 28-and 2/7-weeks gestation with birthweight of
1190g (2Ib 9.9oz) who delivered vaginally on January 9, 2018 at 5:51 AM. He delivered in the




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Navarro County Jail with EMS in attendance. EMS reports that his mouth and nose were
suctioned with a bulb syringe, that he was dried and was warmed. They note that he was
crying, moving all extremities, and was placed skin to skin with his mother. An acute
`'deterioration" of his condition was recognized, and he was taken from his mother so that his

breathing could be assisted with bag-mask ventilation. EMS further notes that bag-mask
ventilation was continued until his arrival at Navarro Regional Hospital.   No vital signs were

recorded due to "multiple patients and active delivery". Apgar scores of 7 at one minute and 4
at 5 minutes were assigned by EMS. Records from Navarro Regional Hospital note the infant's
arrival at 6:20 AM and that he was carried to the nursery by EMS with bag-mask ventilation
ongoing. Vital signs on admission were heart rate 60, cuff blood pressure of 63/30 with oxygen
saturation of 84% with cyanosis. CPR was initiated immediately after arrival. Two unsuccessful
intubation attempts were made and a laryngeal mask airway (LMA) was placed at 6:42 AM. The
infant's temperature on admission was not recorded. An umbilical venous catheter was placed
at 6:55 AM due to emergent need for intravenous access and a normal saline bolus was given.
The medical record notes improvement in the infant's saturations following LMA placement
and that he was transitioned to vapotherm. At 8:30 AM his saturations were noted to drop and

positive pressure ventilation was initiated and was continued until the arrival of the BUMC
transport team. BUMC reports that call for transport from Navarro Regional Hospital was
received at 6:45 AM and that they arrived at 8:55 AM.     Upon arrival BUMC notes that the
infant was pale and dusky with increased capillary refill indicating poor perfusion. He was
intubated by the BUMC transport team at 9:20 AM and given two additional normal saline
boluses due to poor perfusion. He remained in critical condition after arrival to BUMC needing
high-frequency ventilation, two doses of Curosurf surfactant and inhaled nitric oxide for

pulmonary hypertension. An EEG performed on January 12, 2018 due to worsening clinical
status and concern for seizure was abnormal with premature and poorly sustained background
suggestive of encephalopathy. A cranial ultrasound was done on January 17, 2018 showing a
right-sided grade 3 IVH. Cranial ultrasound from January 26, 2018 showed marked progression
of bilateral lateral ventricular dilation with grade 3 hemorrhages bilaterally. The cranial sutures
were noted to be separated on January 30, 2018 indicating post-hemorrhagic hydrocephalus
and the infant was transferred on that date to Children's Medical Center Dallas, TX. Additional
complications occurring while at BUMC include a large patent ductus arteriosus requiring
treatment and spontaneous perforation of the intestine requiring placement of an
intraabdominal drain and later exploratory laparotomy. While at CMC a ventricular reservoir
was placed on February 7, 2018 due to post-hemorrhagic hydrocephalus. A ventricular




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peritoneal shunt was placed on May 15, 2019 but failed to operate properly and was replaced
with a ventricular-atrial shunt. Follow-up MRI exams of the brain have shown marked paucity
of periventricular white matter with atrophy of the corpus callosum and cystic
encephalomalacia in the right frontal and temporal areas.      His hospital course at CMC was
further complicated by seizures and sensorineural hearing loss of both ears. He has been
diagnosed with microcephaly, global developmental delay and spastic quadriparesis making
lifelong neurodevelopmental disability likely.




Standard of Care and Breach of Standard of Care


Guidelines for Perinatal Care states that incarcerated women who wish to continue their

pregnancies should have access to readily available and regularly scheduled obstetric care
beginning early in pregnancy and continuing through the postpartal period. Incarcerated

pregnant women also should have access to unscheduled or emergency obstetric visits on a 24-
hr basis. (6) The guidelines also state that patients with suspected preterm labor should be
examined and observed for 1-2 hours, have their uterine activity monitored and undergo serial
cervical examinations to document the presence or absence of cervical change. (6) Assessment
for maternal urinary tract infections and ultrasonic examination of the fetus is also
recommended. (6)


ln addition to the above, I am familiar with the standard of care for a nurse when dealing with a

pregnant wo.man based on my experience as a physician practicing in the areas of pediatrics
and neonatology, I regularly interact with and supervise nurses who are responsible for

pregnant women, and in particular, those with high-risk pregnancies. The standard of care for a
nurse in Linda Hullett's position, when attending to a pregnant individual, includes the
following:


   •    Recognizing that a twin pregnancy is always a high-risk pregnancy, especially one who had a

       prior preterm delivery;
   •   Recognizing indicators of potential imminent labor, such as a passed mucous plug, regular
       contractions; and contractions of increasing intensity and frequency
   •    Immediately referringthe patient to an obstetrician when these indicators are observed;
   •    Recognizingthatthej.ail is extremely underequipped to deliververy low birth weight babies;
   •    Followingall physician'sorders;




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         Regularly monitor the medical condition of an individual who is presenting with indicators of
         potential imminent labor;

Nurse Hullett breached the above-described standards of care when she:


     •    Failed to follow Dr. Shaw's order from December 27 that Irene Rodriguez needed to see an
          Obstetrician as soon as possible;
     •    Failed to ensure that Rodriguez attended her pre-scheduled appointment with Dr. Spears on
          December 28;
     •    Failed to ensure Rodriguezwas examined byan obstetrician ortransferred to a hospital
          despite numerous signs of impending labor.
     •    Failed to call urgently for EMS when first learning ofregularcontractions at 3 minute intervals
          on January 9.

As for Dr. Grady Shaw, the standard of care requires him to monitor any patient who has a
high-risk pregnancy and ensure that she is examined by an obstetrician if a risk of premature
delivery manifests, as indicated by such symptoms as observed contractions. As with Nurse
Hullett, the standard of care requires that Shaw recognize that a jail is extremely
underequipped to deliver very low birth weight babies, and that every reasonable precaution
should be taken to avoid a premature delivery in such a setting. Furthermore, the standard of
care requires him to supervise his subordinates and ensure that they are carrying out his orders
and adhering to the standards of care themselves.


By his own notes, he observed on December 27 that Ms. Rodriguez was pregnant with twins
and was experiencing contractions. He also noted her expected delivery date was not until
March, so if labor was imminent the babies would be very premature. Part of his plan was that
Rodriguez continued to be monitored. Although he did note Ms. Rodriguez's pre-existing
appointment with Dr. Spears on the 28th, and left a corresponding order that she see an
Obstetrician as soon as possible, he breached the standard of care by failing to follow up to see
if she actually went to that appointment or what the results were. Had he done so, he would
have realized that Ms. Rodriguez never did get to see Spears or any other Obstetrician. Shaw
also breached the standard of care by never following up with Ms. Rodriguez himself to see if
she continued to have contractions or if her condition changed in any way.


Finally, the facility itself is subject to a standard of care.   Primarily, because it is inevitable that
some of its inmates will be pregnant women, and because those inmates are not free to seek
their own medical care, it must ensure that its providers at the jail are aware of the standards
outlined above and adhere to them. SHP failed to do that here.




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 Injuries Sustained and Causal Link Between Breach of Standards of Care and Injuries


There is a reasonable degree of medical probability that had Irene Rodriguez delivered in a
medical facility with appropriate equipment and personnel trained to deliver and manage

premature infants, the severe neurodevelopmental disability the two infants now experience
would have been avoided. Stabilization of VLBW infants is a highly specialized skill practiced by

people certified by the American Heart Association's Neonatal Resuscitation Program. It also
requires a dedicated environment and specialized equipment sized for very low birth weight
infants. This equipment includes radiant warmers, thermal mattresses and polyethylene wraps
used to maintain a normal body temperature in these very small newborns. Also needed are
face-masks sized for these infants which are much smaller than those needed for term-born
infants and adults. It is highly unlikely that the Navarro County Jail or even the EMS units
responding to the scene possessed face-masks and oxygen delivery equipment suitable for
effective positive pressure ventilation in VLBW infants. Without this equipment and training,
maintaining normal body temperature and effectively supporting respirations of very preterm
infants are not possible.


By delivery in an out-of-hospital environment, the infants were exposed to hypothermia,
hypoxia and hemodynamic instability that more likely than not caused severe IVH, cystic PVL
and the resultant neurologic disability. The rapid nature of the delivery and transport by EMS
left Navarro Regional Hospital little time to prepare for these critical infants. As a Level 2
Neonatal Intensive Care Unit (NICU) they are capable of stabilization of VLBW infants prior to
transport to a Level 3 Center but do not offer comprehensive care to this kind of patient. Had
Irene Rodriguez been transported to Navarro Regional Hospital in a timely manner (at a
minimum, in the several days prior to delivery), Navarro Regional Hospital would have either (a)
ensured that staff skilled in neonatal resuscitation could have been assembled and present at
the delivery with appropriate equipment, or (b) transported her to a center with a Level 3 NICU
that specializes in the care of infants born weighing less than 1500g and with a gestational age
of <32 weeks. Based on my experience at a level 3 Center, level 2 Centers routinely make these
transfers. In either scenario the infants' temperature, breathing and per fusion would more
likely than not have been properly controlled preventing the subsequent, severe brain injury.


Specific medical causation for each child is as follows:


Analeyah Rodriguez was noted to be breathing spontaneously immediately following delivery
but stopped breathing soon thereafter. An attempt to stabilize her condition was made by


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 corrections officers and EMS but records from Navarro Regional Hospital show that she was
 severely hypothermic and in need of assistance breathing upon arrival. The Apgar scores of 1 at
 one minute and 5 at five minutes describe an infant in distress and in need of ongoing
 resuscitation. Medical records from Navarro Regional Hospital show that her condition soon
 worsened and report an approximately 15 minute period during which she required CPR due to
 low blood oxygen saturations and low heart rate (bradycardia). Her heart rate, breathing and
 oxygen saturations did not stabilize until an endotracheal tube was placed at approximately 2.5
 hours of life. During this period, the flow of oxygenated blood to her brain and body was
 compromised. This resulted in hemodynamic instability and hypoxic/ischemic stress.
 Hemodynamic instability in a newborn VLBW infant is well known to cause intraventricular
 hemorrhage while hypoxic/ischemic stress has been clearly linked to the development of

 periventricular leukomalacia. (2,3) The finding of severe IVH at 3 days of life is consistent with
 an injury suffered at the time of delivery and the resulting post-hemorrhagic hydrocephalus is
 consistent with progression of severe IVH. The later diagnosis of cystic PVL is also consistent
with injury at the time of birth and is directly linked to the diagnosis of cerebral palsy with left
sided hemiplegia. The damage to her brain is permanent and her impairment will be life-long.
 In short, her injuries were caused by hemodynamic instability and hypoxic/ischemic stress
 resulting from being born in a jail cell without any appropriately trained personnel or
supportive equipment present. Antenatal therapies such as steroid treatment or magnesium
sulfate would also have mitigated Analeyah's catastrophic injuries.     All of these disabilities,
more likely than not, would have been avoided if Dr. Shaw, Nurse Hullett, and SHP had not
breached the standard of care as described above.


Benjamin Rodriguez's Apgar scores as assigned by EMS were 7 at one minute and 4 at 5
minutes. Decreasing Apgar scores from 1 to 5 minutes show an infant who was vigorous at
birth but whose condition worsened over the first 5 minutes of life. This is consistent with the
narrative provided by EMS and is very likely due to inadequate positive pressure ventilation and
thermoregulation. Skills required to adequately stabilize a VLBW infant are beyond those
normally expected of EMS. Records from Navarro Regional Hospital note that he required
ongoing positive pressure ventilation on admission due to respiratory distress and that he
remained unstable until the arrival of the BUMC transport team approximately 2 hours later.
The prolonged period of hemodynamic instability almost certainly led to the finding of
encephalopathy at 3 days of life along with the findings of severe IVH and cystic PVL which are
directly linked to the later diagnosis of global developmental delay and spastic quadriparesis.
The damage to his brain is permanent and severe and he will require life-long medical care. As



ill



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with Analeyah, had Benjamin received antenatal therapy and the presence of appropriately
trained personnel and supportive equipment at his delivery, the prolonged period of
hemodynamic instability and hypoxic stress-as well as the resulting injuries-would more
likely than not have been avoided. All of Benjamin's disabilities, more likely than not, would
have been avoided if Dr. Shaw, Nurse Hullett, and SHP had not breached the standard of care as
described above.


The optimal result for these infants would have been realized had Irene Rodriguez been
transferred to a hospital as soon as the risk of preterm delivery became evident. Had transfer
taken place on January 2, 2018 when she presented with contractions for the third time, she
very likely would have received antenatal steroids which have not only been proven to improve
outcomes in VLBW infants but specifically have been shown to decrease the rate of severe
intraventricular hemorrhage. If, while hospitalized, preterm labor became imminent she would
have likely received magnesium sulfate to help prevent cerebral palsy in the infants. As stated
above, Navarro Regional Hospital would almost certainly have transferred Ms. Rodriguez to a
Level 3 NICU such as BUMC. Delivery at a center with a Level 3 NICU would have more likely

than not prevented the severe brain injury suffered by these infants because they would have
benefited from therapies proven to decrease IVH and PVL and delivery in the hands of
experienced and properly trained personnel would very likely have prevented the severe
hypothemia, hypoxia and hemodynamic instability needed to cause severe lvH and cystic PVL.


In sum, breaches of the standard of care by Linda Hullett, Dr. Shaw, and SHP caused Irene
Rodriguez to give birth to premature infants in a jail cell, a wholly unsafe environment for such
a delivery. The breaches also prevented Rodriguez from receiving any antenatal therapies.
Being delivered under such circumstances caused hypoxic/ischemic stress, hypothemia and

prolonged hemodynamic instability in both twins, which in turn caused serious brain injuries. It
is more likely than not that all of this would have been avoided had Defendants transported
Ms. Rodriguez to a hospital in a timely manner.




12



                                                                                   PLS.' APPX. 090
Case 3:20-cv-00045-D Document 106 Filed 06/19/23   Page 93 of 121 PageID 1561




Sincerely,




     0#
Donald F. Meyn
Neonatologist
Diplomate, American Board of Pediatrics
Fellow, American Academy of Pediatrics




13



                                                                PLS.' APPX. 091
Case 3:20-cv-00045-D Document 106 Filed 06/19/23       Page 94 of 121 PageID 1562
                             Curriculum Vitae


   Personal Information:
        Donald F. Meyn Jr.
        Citizen of the United States of America
        1415 Campden Dr
        Baton Rouge, LA 70810
        dmeynjr@gmail.com
        225-993-1274

   Rank:
           Neonatologist
           Infamedics
           Baton Rouge, LA

   Education:
        1988 – 1993          Jesuit High School                 New Orleans, LA
        1993 – 1995          University of Texas at Austin      Austin, TX
        1995 – 1997          Louisiana State University          Baton Rouge, LA
                                    BS – Zoology
           1997 – 1999       Our Lady of the Lake College       Baton Rouge, LA
                                    AS – Emergency Health Science
           1999 – 2003       Louisiana State University School of Medicine
                                    Doctor of Medicine          New Orleans, LA

   Licensure:
         2004 – 2009         Alabama Medical Licensure Commission
         2009 - present      Louisiana Medical Licensure Commission

   Postdoctoral Training:
        2003 – 2004          Pediatric Internship: University of Alabama at
                                   Birmingham
           2004 – 2006       Pediatric Residency: University of Alabama at
                                   Birmingham
           2006 – 2009       Neonatology Fellowship: University of Alabama at
                                   Birmingham

   American Board of Pediatrics Certifications
        2007 - present    General Pediatrics
        2010 - present    Neonatal-Perinatal Medicine

   Awards/Honors:

           2007              Young Researcher Award Winner for Basic Science
                             at Southern Society of Pediatric Research

           2007              UAB Department of Pediatrics Dixon Fellowship
                             Recipient




                                                                      PLS.' APPX. 092
Case 3:20-cv-00045-D Document 106 Filed 06/19/23       Page 95 of 121 PageID 1563
                             Curriculum Vitae




   Professional Societies:
         2003 – present    Fellow - American Academy of Pediatrics



   Abstracts:
   Meyn DF, Harvey CR, Ness JN, Washington J Regulation. of p53 in Neonatal
   Hypoxia and Ischemia, Southern Society of Pediatric Research, Atlanta, GA,
   March 2006

   Meyn DF, Harvey CR, Ness JN. p53 Dependent Regulation of AIF in Neonatal
   Hypoxia-Ischemia, Southern Society of Pediatric Research, New Orleans, LA
   February 9, 2007

   Meyn DF, Harvey CR, Ness JN. Neonatal Hypoxia-Ischemia Causes Bax-
   dependent AIF Increase, Pediatric Academic Society, Honolulu, HI

   Meyn DF, Ness JN, Ambalavanan N, Carlo W. Prophylactic Phenobarbital and
   Whole-Body Cooling for Neonatal Hypoxia-Ishcemia

   Meyn DF, Voelker C, Schorr M, Morris, A. Reducing Morbidities in
   Mircopremature Infants. NICQ Next 2 – Care of the Micropremature Infant.
   Woman’s Hospital, Baton Rouge, LA. 2016

   Meyn DF, Voelker C, Schorr M, Morris, A. Improving Survival Without Morbidity
   in Micropremature Infants NICQ Next 2 – Care of the Micropremature Infant.
   Woman’s Hospital, Baton Rouge, LA. 2017

   Meyn DF, Voelker C, Schorr M, Morris, A. Improving Survival Without Morbidity
   in Micropremature Infants NICQ 2018-2019 – Care of the Micropremature Infant.
   Woman’s Hospital, Baton Rouge, LA. 2018

   Meyn DF, Voelker C, Schorr M, Morris, A. Improving Survival Without Morbidity
   in Micropremature Infants: Thermoregulation – Care of the Micropremature
   Infant. Woman’s Hospital, Baton Rouge, LA. 2019


   Oral Presentations:
         2006        Cell Death Mechanisms in Neonatal Hypoxia and Ischemia,
                            Southern Society of Pediatrics
         2007        Role of Apoptosis Inducing Factor in Neonatal Hypoxia and
                     Ischemia, 31st Southeastern Conference on Perinatal
                     Research
         2007        p53 Dependent Regulation of Apoptosis Inducing Factor




                                                                       PLS.' APPX. 093
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                             Curriculum Vitae


                      (AIF) in Neonatal Hypoxia and Ischemia

   Publications:

   Meyn DF, Ness JN, Ambalabanan N, Carlo C. Prophylactic Phenobarbital and
   Whole Body Cooling for Neonatal Hypoxic-Ischemic Encaphalopathy J Pediatr
   2010; 157:334-6




                                                                    PLS.' APPX. 094
Case
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1                      IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
2                                 DALLAS DIVISION
3     IRENE RODRIGUEZ, individually         )
      and as parent and legal               )
4     guardian of A.R., and Maria           )
      Antonia Santos as representative)
5     of the estate of B.R.,                )
              Plaintiffs,                   )
6                                           )      CIVIL ACTION NO.
      V.                                    )      3:20-cv-00045D
7                                           )
      SOUTHERN HEALTH PARTNERS, INC., )
8     LINDA HULLETT, and                    )
      DR. GRADY SHAW,                       )
9             Defendants.                   )
10
11     * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
12         ORAL AND VIDEOTAPED DEPOSITION OF DONALD F. MEYN, JR., M.D.
                                 REPORTED REMOTELY
13
       * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
14
15
16
17            ORAL AND VIDEOTAPED DEPOSITION OF DONALD F. MEYN, JR.,
18    M.D., being produced as a witness at the instance of the
19    Defendants, taken in the above-styled and numbered cause on the
20    14th day of June, 2022, from 10:02 a.m. to 3:29 p.m., before
21    Rhonda Jacks Certified Shorthand Reporter in and for the State
22    of Texas, reported remotely by machine shorthand.             The witness
23    is located in Baton Rouge, Louisiana.           This deposition is being
24    taken remotely and in accordance with the Federal Rules of
25    Civil Procedure and the agreements hereinafter set forth:

                                                                        Page 1

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1     expert that since this is your only case you don't have a

2     designation of the amount of time you spend as an expert.

3     Right?

4          A       That's correct.

5          Q       Are you the supervisor for the nurses at any of the

6     three hospitals where you work?

7          A       Define what you mean by supervisor.

8          Q       Sure.   Are you employed at those hospitals to

9     supervise certain nurses that are in any particular role that

10    are working under you, meaning you're responsible for

11    overseeing what they do, they would report to you and you would

12    be considered their boss?

13         A       In my role as a neonatologist I definitely supervise

14    nurses.     However, I am not paid specifically or have a specific

15    title that goes beyond that.       So just as my role seeing

16    patients everyday working with nurses everyday, I supervise in

17    that way.

18         Q       So it sounds like what you're explaining is you --

19    you work alongside the nurses in the hospital.         And I assume

20    you have an open door policy that they would be able to come to

21    you with questions, but you are not designated in title as

22    their supervising practitioner.         Is that fair to say?

23         A       Yes.

24         Q       Okay.   Do you know the difference between the scopes

25    of practice for an LPN and an RN?

                                                                     Page 52

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1                       MR. TITTLE:   Objection; form.

2          A     I think the standard of care requires proper

3     documentation of a medical encounter.

4          Q     So you are saying that when -- when an inmate is seen

5     by a medical provider in a correctional setting, that that

6     needs to be documented?

7          A     Yes.

8          Q     Does the standard of care call for any particular

9     type of forms or documentation used within a correctional

10    facility setting?

11                      MR. TITTLE:   Objection; form.

12         A     I am not aware that there is a specific type of

13    documentation other than one that would contain information

14    regarding the patient's history, current vital signs and

15    pertinent aspects of physical exam, any problems that may be

16    ongoing or medications that may be taken or allergies that the

17    person may have and any specific plan that's required by that

18    person.

19         Q     What is the standard of care for correctional

20    healthcare providers to make referrals to providers outside the

21    jail or prison?

22                      MR. TITTLE:   Objection; form.

23         A     I think that standard is the same as it would be the

24    same for anyone else regardless of whether you're inside a

25    correctional facility or not.

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 1          Q     And so if you believe that the standard of care for

 2    making referrals is the same in a correctional facility, then

 3    what is that standard of care in your opinion?

 4          A     I think if the patient requires more specific or

 5    specialized care than the admitting or in-take or provider that

 6    we're talking about is able to do, then that consult to a

 7    specialist needs to be done in a timely manner.

 8          Q     What's the standard of care for a correctional

 9    healthcare provider in arranging transportation to appointments

10    that the inmates might have with outside providers?

11          A     I think that standard would be the same as somebody

12    in any type of institution or had any transportation difficulty

13    that if the patient required specialized care, then an effort

14    to expedite transport of that patient from wherever they are to

15    wherever they need to go needs to be done in an efficient

16    manner.

17          Q     Do you have any knowledge or experience in what role

18    the medical providers inside a jail or prison play in arranging

19    transportation for an inmate who needs to see an outside

20    provider?

21          A     So you're asking me specifically how that is done?

22          Q     Yes.

23          A     I do not know the specifics of how that

24    transportation within an institution or facility like this is

25    accomplished.

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 1    who performed the mouth-to-mouth suction or resuscitation in

 2    the absence of having a suction device immediately available?

 3          A    No.    No.   I think that guard did as much as possible

 4    for that baby.

 5          Q    On the page 12, the last paragraph, you say in sum,

 6    breaches of the standard of care by Linda Hullett, Dr. Shaw and

 7    SHP caused Irene Rodriguez to give birth to premature infants

 8    in a jail cell.     When you say breaches in the standard of care,

 9    what are you referring to there?

10          A    Well, as I have stated previously on page -- let's

11    see -- on page nine from Nurse Hullett, failed to follow Dr.

12    Shaw's order from December 27th that Irene Rodriguez needed to

13    see an obstetrician as soon as possible.             Failed to ensure that

14    Ms. Rodriguez attended a pre-scheduled appointment with Dr.

15    Spears on December 28th.      Failed to ensure that Ms. Rodriguez

16    was examined by an obstetrician or transferred to a hospital

17    despite numerous signs of impending labor.             Failed to urgently

18    call EMS when learning of regular contractions at three

19    minutes.   Let's see.     And then as for Dr. Shaw, he breached --

20    this is on page nine, last paragraph -- breached the standard

21    of care by failing to follow-up to see if she actually went to

22    the appointment or what the results were had she gone.              And

23    then to the facility, because its -- it employed providers

24    that were -- Ensure that its providers at the jail are aware of

25    the standards outlined and that they adhere to them.

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 1          Q    Have you spoken to any other types of colleagues or

 2    healthcare providers or professors even about the facts of this

 3    case and your opinions?

 4          A    No.

 5          Q    Are there any additional medical records you're

 6    waiting on to review?

 7          A    No.

 8          Q    If you do end up reviewing any additional materials,

 9    would you please let Mr. Tittle know right away so that we can

10    get an update on that?

11          A    Yes.

12                      MS. DRAKE:     I will pass the witness.

13                      MR. TITTLE:     Thank you.    I just have a couple of

14    quick follow-ups.

15                                    EXAMINATION

16    BY MR. TITTLE:

17          Q    All right, Dr. Meyn.       Have you intended to suggest in

18    any way during today's deposition testimony that there is a

19    difference in the standard of care for either Linda Hullett or

20    Dr. Grady Shaw due to their working in a correctional setting

21    versus a non-correctional setting?

22          A    No.

23          Q    With respect to recognizing a medical condition or

24    diagnosing a medical condition including decisions to refer to

25    specialists or decisions to hospitalize, is there a difference

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 1    in the standard of care expected of medical providers between a

 2    correctional setting and a non-correctional setting?

 3                       MS. DRAKE:     Form and foundation.

 4          A    No.

 5          Q    And let's see.        Just to clarify, you were asked a

 6    couple of questions by Ms. Drake about whether you had reviewed

 7    any records prior to Ms. Rodriguez's incarceration, and I think

 8    maybe earlier in the deposition you said that you didn't recall

 9    any, and then I think you answered that you recalled looking at

10    Dr. Spears' records at some point.          So I just want to ask you

11    to clarify that.      Do you know if at the time you wrote your

12    report in this case you had reviewed Dr. Spears' records of

13    Irene pre-incarceration?

14          A    Yes.     At the time I wrote my report I didn't -- I had

15    reviewed those records.         However, I did not review those

16    records in preparation for this deposition.          Thank you.

17          Q    Okay.     In the last few days you haven't reviewed

18    them, but it's your belief that you reviewed them, and they

19    were considered as -- when you were giving your -- your

20    opinions in your report dated September 16, 2021?

21          A    Yes.

22          Q    And with respect to the questions Ms. Drake asked you

23    about Dr. Cooke, she was asking you to give some opinions about

24    his advice.      Do you have -- Do you have any -- You don't have

25    firsthand knowledge or any kind of a recording of what she

                                                                  Page 139

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 1          That pursuant to the information made available to me at
 2    the time said deposition was taken, the following includes all
 3    parties of record:
 4          MR. DON TITTLE, Attorney for the Plaintiffs
 5          MS. JO BETH DRAKE, Attorney for the Defendants
 6          That before the conclusion of the deposition, the witness,
 7    DONALD F. MEYN, JR., M.D., did request a review of this
 8    transcript pursuant to Rule 30(e)(1).
 9          I further certify that I am neither counsel for,
10    related to, nor employed by any of the parties or attorneys in
11    the action in which this proceeding was taken, and further that
12    I am not financially or otherwise interested in the outcome of
13    the action.
14
15               Certified to by me, this 27th day of June, 2022.
16
17
18
19
20
                                  <%13162,Signature%>
21                                RHONDA JACKS, CSR #3665
                                  Expiration Date:        10-31-2023
22                                VERITEXT LEGAL SOLUTIONS
                                  Firm Registration No. 571
23                                300 Throckmorton Street
                                  Suite 1600
24                                Fort Worth, TX 76102
                                  817-336-3042
25

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Case 3:20-cv-00045-D Document 106 Filed 06/19/23   Page 105 of 121 PageID 1573
   IRENE RODRIGUEZ                                                  10/28/2021

                                                                        Page 1
                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION
          IRENE RODRIGUEZ,             )
          individually and as          )
          parent and legal guardian    )
          of A.R., and Maria           )
          Antonia Santos as            )
          representative of the        )
          estate of B.R.,              )
                                       ) CIVIL ACTION NO.
                          Plaintiffs, )
                                       ) 3:20-CV-00045-D
          VS.                          )
                                       )
          SOUTHERN HEALTH PARTNERS,    )
          INC., LINDA HULLETT, and     )
          DR. GRADY SHAW,              )
                                       )
                          Defendants. )
                     -----------------------------------
                      ORAL AND VIDEOTAPED DEPOSITION OF
                                IRENE RODRIGUEZ
                               OCTOBER 28, 2021
                     -----------------------------------
               ORAL AND VIDEOTAPED DEPOSITION OF IRENE RODRIGUEZ,
          produced as a witness at the instance of the Defendants,
          and duly sworn, was taken in the above-styled and
          numbered cause on October 28, 2021, from 9:36 a.m. to
          4:12 p.m., before Mindy E. Bressert, CSR in and for the
          State of Texas, reported by machine shorthand, at the
          Law Offices of Don Tittle, PLLC, 8350 N. Central
          Expressway, Suite M1085, Dallas, Texas, pursuant to the
          Federal Rules of Civil Procedure and the provisions



   ELITE DEPOSITION TECHNOLOGIES                                 214-698-5199
                                                                 PLS.' APPX. 103
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   IRENE RODRIGUEZ                                                     10/28/2021

                                                                       Page 143
      1                      MR. TITTLE:     Let's take a short break.

      2                      MS. DRAKE:     Sure.

      3                      THE VIDEOGRAPHER:       Off the record.    The

      4   time is 1:28.

      5                      (Lunch recess from 1:28 p.m. to 2:15.)

      6                      THE VIDEOGRAPHER:       Back on the record.      The

      7   time is 2:15.

      8         Q.   (BY MS. DRAKE)        Okay.    You told me before the

      9   break that the twins first went to the Navarro Regional

    10    Hospital --

    11          A.   Uh-huh.

    12          Q.   -- where you were, and then went from there to

    13    Baylor Hospital in Dallas, is that right?

    14          A.   Yes.

    15          Q.   Okay.     And then how long did they both stay at

    16    Baylor?

    17          A.   Like a week.

    18          Q.   Did they leave at the same time?

    19          A.   No.

    20          Q.   Okay.     Let's start with Analeyah then.         When

    21    did she leave?

    22          A.   Analeyah did not leave sooner.          Benjamin left

    23    that one week, or two weeks, around there.

    24          Q.   And where did Benjamin go from there?

    25          A.   Children's Hospital.



   ELITE DEPOSITION TECHNOLOGIES                                   214-698-5199
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   IRENE RODRIGUEZ                                                  10/28/2021

                                                                     Page 144
      1         Q.    To where?

      2         A.    Children's Hospital.

      3         Q.    And that's the one in Dallas, too?

      4         A.    Yes.

      5         Q.    And then Analeyah went to Children's, too,

      6   right?

      7         A.    I -- I went and ordered them to send her over

      8   there.

      9         Q.    And why did you do that?

    10          A.    I feel like Baylor did not do a great job.

    11          Q.    What were you unhappy with about Baylor

    12    treating Analeyah?

    13          A.    Not Analeyah, Benjamin.      They were more

    14    concerned on his brain than his stomach.

    15          Q.    So you were unhappy that Baylor was focused

    16    more on Benjamin's brain than dealing with his stomach

    17    problems?

    18          A.    Yeah.

    19          Q.    And why is it that you picked Children's

    20    Health?

    21          A.    Because they had sent Benjamin from there to

    22    Children's.        And as soon as we arrived there, the

    23    doctors there told me that the more important is his

    24    stomach, not his brain.        At this moment, the fluid, they

    25    could take it out, but his stomach, he was already



   ELITE DEPOSITION TECHNOLOGIES                                 214-698-5199
                                                                 PLS.' APPX. 105
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   IRENE RODRIGUEZ                                                  10/28/2021

                                                                     Page 230
      1              IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
      2                         DALLAS DIVISION
      3   IRENE RODRIGUEZ,              )
          individually and as parent    )
      4   and legal guardian of         )
          A.R., and Maria Antonia       )
      5   Santos as representative      )
          of the estate of B.R.,        )
      6                                 )
                          Plaintiffs,   )
      7                                 ) CIVIL ACTION
          VS.                           )
      8                                 ) NO.: 3:20-CV-00045-D
                                        )
      9   SOUTHERN HEALTH PARTNERS,     )
          INC., LINDA HULLETT, and      )
    10    DR. GRADY SHAW,               )
                                        )
    11                    Defendants.   )
    12
    13                       REPORTER'S CERTIFICATION
    14                     DEPOSITION OF IRENE RODRIGUEZ
    15                           OCTOBER 28, 2021
    16
    17              I, Mindy E. Bressert, Certified Shorthand
    18    Reporter in and for the State of Texas, hereby certify
    19    to the following:
    20              That the witness, IRENE RODRIGUEZ, was duly
    21    sworn by the officer and that the transcript of the oral
    22    deposition is a true record of the testimony given by
    23    the witness;
    24              I further certify that pursuant to FRCP Rule
    25    30 (f) (1) that the signature of the deponent:



   ELITE DEPOSITION TECHNOLOGIES                                 214-698-5199
                                                                 PLS.' APPX. 106
Case 3:20-cv-00045-D Document 106 Filed 06/19/23   Page 109 of 121 PageID 1577
   IRENE RODRIGUEZ                                                  10/28/2021

                                                                     Page 231
      1                ___xx___ was requested by the deponent or a
      2   party before the completion of the deposition and is to
      3   be returned within 30 days from date of receipt of the
      4   transcript.     If returned, the attached Changes and
      5   Signature page contain any changes and the reasons
      6   therefor;
      7                ________ was not requested by the deponent or
      8   a party before the completion of the deposition.
      9                I further certify that I am neither counsel
    10    for, related to, nor employed by any of the parties or
    11    attorneys in the action in which this proceeding was
    12    taken, and further that I am not financially or
    13    otherwise interested in the outcome of the action.
    14                 Subscribed and sworn to by me this 4th day of
    15    November, 2021.
    16
    17
    18                          _________________________________
                                Mindy E. Bressert
    19                          Texas CSR No. #11780
                                Expiration Date:       April 30, 2023
    20                          Elite Deposition Technologies, Inc.
                                Firm Registration No. 10110
    21                          400 N. St. Paul Street
                                Suite 1340
    22                          Dallas, Texas 75201
                                214.698.5199
    23                          www.EliteDeps.com
    24
    25



   ELITE DEPOSITION TECHNOLOGIES                                 214-698-5199
                                                                 PLS.' APPX. 107
Case 3:20-cv-00045-D Document 106 Filed 06/19/23   Page 110 of 121 PageID 1578
                                                                            1
                 DR. MICHELLE SPEARS      -   May 10, 2023

· · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · ··NORTHERN DISTRICT OF TEXAS
· · · · · · · · · · · · · ·DALLAS DIVISION
··
· · · · · · · · · · · · · · · · ··)
··IRENE RODRIGUEZ, individually· ·)
··and as parent and legal· · · · ·)
··guardian of A.R., and Maria· · ·)
··Antonia Santos as· · · · · · · ·)
··representative of the estate· ··)
··of B.R.,· · · · · · · · · · · ··)
· · · · · · · · · · · · · · · · ··)
· · · · · · · · ··Plaintiffs,· · ·)··CIVIL ACTION
· · · · · · · · · · · · · · · · ··)
··v.· · · · · · · · · · · · · · ··)··NO.: 3:20-cv-00045-D
· · · · · · · · · · · · · · · · ··)
··SOUTHERN HEALTH PARTNERS,· · · ·)
··INC., LINDA HULLETT, and· · · ··)
··DR. GRADY SHAW,· · · · · · · · ·)
· · · · · · · · · · · · · · · · ··)
· · · · · · · · ··Defendants.· · ·)
· · · · · · · · · · · · · · · · ··)
··
· · · · · · · ··-----------------------------------
· · · · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF
··
· · · · · · · · · · · ··DR. MICHELLE SPEARS
··
· · · · · · · · · · · · · ·MAY 10, 2023
··
· · · · · · · · · · · · · · ·VOLUME 1
· · · · · · · ··-----------------------------------
· · · ·ORAL AND VIDEOTAPED DEPOSITION OF DR. MICHELLE SPEARS,
··
··produced as a witness at the instance of the PLAINTIFFS, and
··
··duly sworn, was taken in the above-styled and numbered cause on
··
··May 10, 2023, from 1:25 p.m. to 3:29 p.m., before Amber Garcia,
··
··Notary Public in and for the State of Texas, reported by
··
··machine shorthand, at the offices of Dr. Michelle Spears,
··
··400 Hospital Drive, Suite 210, Corsicana, Texas, pursuant to
··
··the Federal Rules of Civil Procedure and the provisions stated
··
··on the record or attached hereto.

                         ON-THE-RECORD REPORTING
                              (214) 956-9950
                                                                 PLS.' APPX. 108
  Case 3:20-cv-00045-D Document 106 Filed 06/19/23   Page 111 of 121 PageID 1579
                                                                             68
                   DR. MICHELLE SPEARS      -   May 10, 2023

·1·· · ··A.· ·Well, I would not be caring for that patient who

·2··would be incarcerated during that period of incarceration,

·3··other than prenatal visits or the hospital.

·4·· · ··Q.· ·(BY MS. MCMILLON)··Okay.··You didn't, typically, go

·5··out to the jail?

·6·· · ··A.· ·I've never gone out to the jail.

·7·· · ··Q.· ·Okay.··So your experience with patients who are in

·8··the jail is just to communicate back and forth with whoever is

·9··calling you about that patient, correct?

10·· · ··A.· ·So I rarely communicate.··There are rarely questions

11··that are -- are asked of us.··I would say appointments would be

12··generally done by the front desk.··Communications that I have

13··with the jail would generally be in direct care of the patient,

14··if they bring the patient in for prenatal visits, ultrasounds,

15··labs or to labor and delivery for acute care.

16·· · ··Q.· ·Okay.··The standard of care would be different in a

17··medical setting versus in the jail setting, though, correct?

18·· · · · · · · ··MR. TITTLE:··Objection, form.

19·· · ··A.· ·The standard of care?··The standard of care, in my

20··opinion, would be the standard of care.

21·· · ··Q.· ·(BY MS. MCMILLON)··Okay.

22·· · ··A.· ·I would not see that being different in jail versus

23··to a person who's not incarcerated.

24·· · ··Q.· ·Okay.··This patient wouldn't have been able to pick

25··up a cell phone and call you anytime she wanted, though, true?

                           ON-THE-RECORD REPORTING
                                (214) 956-9950
                                                                   PLS.' APPX. 109
  Case 3:20-cv-00045-D Document 106 Filed 06/19/23   Page 112 of 121 PageID 1580
                                                                             89
                   DR. MICHELLE SPEARS      -   May 10, 2023

·1·· · · · · · · ·IN THE UNITED STATES DISTRICT COURT
 · · · · · · · · · · ·NORTHERN DISTRICT OF TEXAS
·2·· · · · · · · · · · · · ·DALLAS DIVISION
 · ·
·3·· · · · · · · · · · · · · · · · ·)
 · ·
   ·IRENE RODRIGUEZ, individually· ·)
·4··and as parent and legal· · · · ·)
 · ·
   ·guardian of A.R., and Maria· · ·)
·5··Antonia Santos as· · · · · · · ·)
 · ·
   ·representative of the estate· ··)
·6··of B.R.,· · · · · · · · · · · ··)
 · · · · · · · · · · · · · · · · · ·)
·7·· · · · · · · · ·Plaintiffs,· · ·)··CIVIL ACTION
 · · · · · · · · · · · · · · · · · ·)
·8··v.· · · · · · · · · · · · · · ··)··NO.: 3:20-cv-00045-D
 · · · · · · · · · · · · · · · · · ·)
·9·· · · · · · · · · · · · · · · · ·)
 · ·
   ·SOUTHERN HEALTH PARTNERS,· · · ·)
10··INC., LINDA HULLETT, and· · · ··)
 · ·
   ·DR. GRADY SHAW,· · · · · · · · ·)
11·· · · · · · · · · · · · · · · · ·)
 · · · · · · · · · ·Defendants.· · ·)
12··
 · ·
13·· · · · · · · · · ··REPORTER'S CERTIFICATION
 · ·
14·· · · · · · · ··DEPOSITION OF DR. MICHELLE SPEARS
 · ·
15·· · · · · · · · · · · · ··MAY 10, 2023
 · ·
16··
 · ·
17·· · ··I, Amber Garcia, Notary Public in and for the State of
 · ·
18··Texas, hereby certify to the following:
 · ·
19·· · ··That the witness, DR. MICHELLE SPEARS, was duly sworn by
 · ·
20··the officer and that the transcript of the oral deposition is a
 · ·
21··true record of the testimony given by the witness;
 · ·
22·· · ··That the deposition transcript was submitted on
 · ·
23··May 22, 2023 to the witness or to the attorney for the
 · ·
24··witness for examination, signature and return to me by
 · ·
25··June 21, 2023;

                           ON-THE-RECORD REPORTING
                                (214) 956-9950
                                                                   PLS.' APPX. 110
  Case 3:20-cv-00045-D Document 106 Filed 06/19/23   Page 113 of 121 PageID 1581
                                                                             90
                   DR. MICHELLE SPEARS      -   May 10, 2023

·1·· · ··That the amount of time used by each party at the
 · ·
·2··deposition is as follows:
 · ·
·3·· · ··MR. DON TITTLE.....00 HOUR(S):59 MINUTE(S)
 · · · ··MS. WENDY A. MCMILLON.....00 HOUR(S):54 MINUTE(S)
·4·· · ··MR. TY BAILEY.....00 HOUR(S):00 MINUTE(S)
 · ·
·5·· · ··That pursuant to information given to the deposition
 · ·
·6··officer at the time said testimony was taken, the following
 · ·
·7··includes counsel for all parties of record:
 · ·
·8·· · ··MR. DON TITTLE, Attorney for Plaintiffs
 · ·
·9·· · ··MS. WENDY A. MCMILLON, Attorney for Defendants
 · ·
10·· · ··MR. TY BAILEY,··Attorney for Witness
 · ·
11·· · ··That $__________ is the deposition officer's charges to
 · ·
12··the Plaintiffs for preparing the original deposition transcript
 · ·
13··and any copies of exhibits;
 · ·
14·· · ··I further certify that I am neither counsel for, related
 · ·
15··to, nor employed by any of the parties or attorneys in the
 · ·
16··action in which this proceeding was taken, and further that I
 · ·
17··am not financially or otherwise interested in the outcome of
 · ·
18··the action.
 · ·
19·· · ··Certified to by me this 22nd day of May, 2023.
 · ·
20··
 · ·
21·· · · · · · · · · · · · ··_________________________________
 · · · · · · · · · · · · · ··Amber Garcia
22·· · · · · · · · · · · · ··Notary ID No. 13426953-9
 · · · · · · · · · · · · · ··Cert. Expires:··3-24-2027
23·· · · · · · · · · · · · ··On-The-Record Reporting
 · · · · · · · · · · · · · ··Firm Registration No. 406
24·· · · · · · · · · · · · ··4131 N. Central Expressway
 · · · · · · · · · · · · · ··Suite 977
25·· · · · · · · · · · · · ··Dallas, Texas 75204
 · · · · · · · · · · · · · ··(214) 956-9950

                           ON-THE-RECORD REPORTING
                                (214) 956-9950
                                                                   PLS.' APPX. 111
Case 3:20-cv-00045-D Document 106 Filed 06/19/23   Page 114 of 121 PageID 1582     1



     1                  IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
     2                           DALLAS DIVISION

     3

     4   IRENE RODRIGUEZ,            *
         Individually and as parent *
     5   and legal guardian of A.R., *
         and Maria Antonia Santos as *
     6   representative of the       *
         estate of B.R.              *
     7                               *
         VS.                         * CIVIL ACTION CA NO.
     8                               * 3:20-cv-00045-D
         SOUTHERN HEALTH PARTNERS,   *
     9   INC., LINDA HULLETT, AND    *
         DR. GRADY SHAW              *
    10

    11

    12             ***************************************
                   REMOTE ORAL DEPOSITION OF CLAIRE TESKE
    13                          DECEMBER 12, 2022
                   ***************************************
    14

    15

    16

    17

    18              ANSWERS AND DEPOSITION OF CLAIRE TESKE,

    19   produced as a witness at the instance of the Plaintiff,

    20   taken in the above-styled and -numbered cause on the

    21   12th day of December, 2022, at 8:58 a.m., before Susan

    22   M. Foreman, a Certified Shorthand Reporter in and for

    23   the State of Texas, via Zoom teleconference, in the City

    24   of Dallas, County of Dallas, and State of Texas, in

    25   accordance with the Federal Rules of Civil Procedure.


                                ON-THE-RECORD REPORTING
                                      214.536.9803               PLS.' APPX. 112
Case 3:20-cv-00045-D Document 106 Filed 06/19/23   Page 115 of 121 PageID 1583     18



     1        Q.    Are the national standards for nurses set forth

     2   in any particular document?

     3                    MS. DRAKE:      Objection, form.

     4        A.    I'm not sure what -- what you're asking.

     5        Q.    You -- you were saying that --

     6        A.    A document, umm.

     7        Q.    Okay.

     8                    The reason I said document is I couldn't

     9   think of the -- the right word.            But are they set forth

    10   in any particular body of work?            In other words, like

    11   you have the NCCHC that you referenced; that's, you

    12   know, a body of work.        Is there anything like that that

    13   pertains to nursing standards --

    14        A.    Yeah, I think --

    15        Q.    -- on a national level?

    16        A.    There's Board -- Board of Registered Nursing;

    17   and then there's Board -- the Board of Licensed

    18   Vocational Nursing, and they have standards that are --

    19   that are available or posted.

    20        Q.    Do you -- do you consider those to be the

    21   standard of care, as setting forth the standard of care?

    22        A.    Yes, certainly one -- one entity that does that

    23   sort of thing.      But there's lots of, you know, different

    24   organizations and things that also produce suggestions

    25   for standard of care and suggestions for certain types


                                ON-THE-RECORD REPORTING
                                      214.536.9803               PLS.' APPX. 113
Case 3:20-cv-00045-D Document 106 Filed 06/19/23   Page 116 of 121 PageID 1584     19



     1   of treatment or whatever.          So there's a whole lot of

     2   information out there.

     3        Q.    Well, if you can --

     4        A.    The basic would be the Board -- the Board of

     5   Nursing would be basic standard, yes.

     6        Q.    The Board of Nursing would be the basic

     7   standard of care?

     8        A.    Yes.

     9        Q.    And that's a national organization?

    10        A.    No, I think that those are individual states.

    11   They have Board of Registered Nursing in each state...

    12   And there's -- I believe there's a -- a national

    13   organization, the American Nursing Association, and that

    14   probably has a set of their standards.

    15        Q.    Those standards that you just mentioned, those

    16   are not further broken down by correctional setting

    17   versus noncorrectional setting, are they?

    18        A.    Well, yes, because the nat- -- the -- what I --

    19   the organization we talked about earlier, the NCCHC, is

    20   a national, and it's corrections.             So it's -- it's --

    21   it's a separate just for corrections.

    22        Q.    I -- I understand that.

    23                     But the national or the Board of --

    24                     Strike that.

    25                     The -- you said the Board of Nursing, is


                                ON-THE-RECORD REPORTING
                                      214.536.9803               PLS.' APPX. 114
Case 3:20-cv-00045-D Document 106 Filed 06/19/23   Page 117 of 121 PageID 1585          20



     1   that what you said, that would be on a statewide

     2   level --

     3        A.    Yeah.

     4        Q.    -- each state would have that?            Did you --           is

     5   that what the --

     6        A.    Yeah.

     7        Q.    -- the phrase you used?

     8        A.    Yes.

     9        Q.    Okay.

    10        A.    Yes.    And they have their -- their standards

    11   for the requirements, the testing requirements, that

    12   sort of thing.

    13        Q.    They also have requirements on scope of

    14   authority, correct?

    15        A.    Yes, I believe so.

    16        Q.    And those -- that scope of authority in those

    17   standards is not broken down by correctional setting

    18   versus noncorrectional setting, right?

    19        A.    No, I don't believe they are.

    20                     MS. DRAKE:     Objection, form.

    21        Q.    And you mentioned the American Board of

    22   Nursing, I believe.        Did they say they also have

    23   suggestions and standards?

    24        A.    The American Association of Nursing; and

    25   there's a -- there's several different organizations for


                                ON-THE-RECORD REPORTING
                                      214.536.9803               PLS.' APPX. 115
Case 3:20-cv-00045-D Document 106 Filed 06/19/23   Page 118 of 121 PageID 1586     90



     1   parties to the action in which this deposition is taken,

     2   and further that I am not a relative or employee or any

     3   attorney or counsel employed by the parties hereto, or

     4   financially interested in the action.

     5               Certified to me this 30th day of December,

     6   2022.

     7

     8                                 _______________________________
                                       Susan M. Foreman
     9                                 Texas CSR Number 5240
                                       On-The-Record Reporting
    10                                 25 Highland Park Village
                                       Suite 100-333
    11                                 Dallas, Texas 75205
                                       Certification Expires: 12-31-24
    12                                 susan@otr-reporting.com

    13

    14   Taxable Cost of original charged to Plaintiff
         $ ________
    15   Attorney: Mr. Don Tittle

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25


                                ON-THE-RECORD REPORTING
                                      214.536.9803               PLS.' APPX. 116
                Case 3:20-cv-00045-D Document 106 Filed 06/19/23        Page 119 of 121 PageID 1587

                                                                                              Page 1
                                                IN THE UNITED STATES DISTRICT COURT
                                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                                          DALLAS DIVISION

                                   IRENE RODRIGUEZ,                 )
                                   Individually and as              )
                                   parent and legal                 )
                                   guardian of A.R. and             )
                                   Maria Antonia Santos as          )
                                   representative of the            )
                                   estate of B.R.,                  )
                                                                    ) CIVIL ACTION
                                           Plaintiffs,              )
                                                                    ) NO.: 3:20-CV-00045-D
                                   VS.                              )
                                                                    )
                                   SOUTHERN HEALTH                  )
                                   PARTNERS, INC., LINDA            )
                                   HULLETT, and DR. GRADY           )
                                   SHAW,                            )
                                                                    )
                                           Defendants.              )


                                                -----------------------------------

                                                  VIDEOCONFERENCE ORAL DEPOSITION OF

                                                          MARK B. LANDON, M.D.

                                                            JANUARY 5, 2023

                                                -----------------------------------




                                         VIDEOCONFERENCE ORAL DEPOSITION OF MARK B.

                                 LANDON, M.D., produced as a witness at the

                                 instance of the Plaintiff, and duly sworn, was

                                 taken in the above-styled and numbered cause on

                                 January 5, 2023, from 11:04 a.m. to 3:32 p.m., via

                                 Zoom Videoconference, before Melody A. Monk, CSR

                                                                                      PLS.' APPX. 117

Electronically signed by MELODY MONK (401-154-423-4513)                              2730ceef-a5fb-4513-b275-fabcb4d25d0c
                Case 3:20-cv-00045-D Document 106 Filed 06/19/23            Page 120 of 121 PageID 1588

                                                                                                Page 16
                          1      recall which side I was looking at the case for

                          2      involving an incarcerated pregnant woman.

                          3              Q.     Dr. Landon, you indicated in your report

                          4      that -- and I'm going to paraphrase, that you are

                          5      familiar with the care -- well, I'm not going to

                          6      paraphrase.               I can just read it:   I am also

                          7      familiar with the care of pregnant incarcerated

                          8      women as this population is served by Ohio State

                          9      University Medical Center.

                        10                                That's your familiarity with medical

                        11       care provided to -- in a correctional setting; is

                        12       that true?

                        13               A.     True.

                        14               Q.     Have you yourself ever provided medical

                        15       care in a correctional setting?

                        16               A.     No.

                        17               Q.     You've never been employed by any --

                        18       anyone that either runs, runs a jail or a prison,

                        19       any type of correctional facility, to provide

                        20       medical care?

                        21               A.     Not directly.

                        22               Q.     Other than simply the fact that some

                        23       incarcerated women are served by Ohio State

                        24       University Medical Center, you don't have any, any

                        25       additional knowledge of the provision of medical

                                                                                          PLS.' APPX. 118

Electronically signed by MELODY MONK (401-154-423-4513)                                  2730ceef-a5fb-4513-b275-fabcb4d25d0c
                Case 3:20-cv-00045-D Document 106 Filed 06/19/23       Page 121 of 121 PageID 1589

                                                                                         Page 178
                          1      STATE OF TEXAS             )

                          2      COUNTY OF DALLAS           )

                          3

                          4                       I, Melody A. Monk, Certified Shorthand

                          5      Reporter, duly qualified in and for the State of

                          6      Texas, certify that the foregoing pages

                          7      constitutes a full, true and correct transcript of

                          8      the proceedings had before me.

                          9

                        10                        I further certify that I am neither

                        11       counsel for, nor related to, any parties in this

                        12       cause and am not financially interested in the

                        13       outcome.

                        14

                        15                        GIVEN UNDER MY HAND OF OFFICE on this the

                        16       ________ day of _________________, 2023.

                        17

                        18

                        19
                                                            ___________________________
                        20                                  Melody A. Monk, RPR
                                                            Texas CSR No. 3613
                        21                                  Expires 10.31.2024

                        22       ON-THE-RECORD REPORTING
                                 Firm Registration No. 406
                        23       25 Highland Park Village
                                 Suite 100-333
                        24       Dallas, Texas 75205
                                 214.956.9950
                        25       214.956.7161 (fax)

                                                                                     PLS.' APPX. 119

Electronically signed by MELODY MONK (401-154-423-4513)                             2730ceef-a5fb-4513-b275-fabcb4d25d0c
